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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF ARIZONA

MESA PUBLIC SCHOOLS,                     No.

                           Plaintiff,    COMPLAINT

      v.

META PLATFORMS, INC., FACEBOOK JURY TRIAL DEMANDED
HOLDINGS,     LLC,     FACEBOOK
OPERATIONS,       LLC,     META
PAYMENTS INC., META PLATFORMS
TECHNOLOGIES, LLC, INSTAGRAM,
LLC, SICULUS, INC., SNAP INC.,
TIKTOK INC., BYTEDANCE INC.,
ALPHABET INC., GOOGLE LLC, XXVI
HOLDINGS INC., and YOUTUBE, LLC,

                           Defendants.
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                                  I.       INTRODUCTION
         1.     Meta Platforms, Inc., Facebook Holdings, LLC, Facebook Operations,
LLC, Meta Payments Inc., Meta Platform Technologies, LLC, Instagram, LLC, Siculus,
Inc., Snap Inc., TikTok Inc., ByteDance Inc., Alphabet Inc., Google LLC, XXVI
Holdings Inc., and YouTube, LLC (collectively, “Defendants”) design, market, promote,
and operate social media platforms. Over the past decade, each has grown their respective
platforms exponentially, from millions to billions of users. And Defendants have grown
not just their user bases, but the frequency with which users use their platforms and the
time each user spends on their platforms. Defendants’ growth is a product of choices they
made to design and operate their platforms in ways that exploit the psychology and
neurophysiology of their users into spending more and more time on their platforms.
These techniques are both particularly effective and harmful to the youth audience
Defendants have intentionally cultivated, creating a mental health crisis among
America’s youth.
         2.     Defendants have done so for profit. Their business models are based on
advertisements. The more time users spend on their platforms, the more ads Defendants
can sell.
         3.     Youths are central to Defendants’ business models. Youths are more likely
to have a phone, to use social media, and to have downtime to spend on Defendants’
social media platforms. Plus, youth influence the behavior of their parents and younger
siblings. As one Defendant put it, “los[ing] the teen foothold in the U.S.[,]” would mean
“los[ing] the pipeline” for growth.1
         4.     Defendants have maximized the time users—particularly youth—spend on
their platforms by purposely designing, refining, and operating them to exploit the


1
    Sheera Frenkel et al., Instagram Struggles with Fears of Losing Its ‘Pipeline’: Young
    Users, N.Y. Times (Oct. 26, 2021),
    https://www.nytimes.com/2021/10/16/technology/instagram-teens.html.



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neurophysiology of the brain’s reward systems to keep users coming back, coming back
frequently, and staying on the respective platforms for as long as possible.
         5.    Youths are particularly susceptible to Defendants’ manipulative conduct
because their brains are not fully developed, and they consequently lack the same
emotional maturity, impulse control, and psychological resiliency as other more mature
users.
         6.    Defendants have successfully exploited the vulnerable brains of youth,
hooking tens of millions of students across the country into positive feedback loops of
excessive use and abuse of Defendants’ social media platforms. Worse, the content
Defendants curate and direct to youth is too often harmful and exploitive (e.g., promoting
a “corpse bride” diet, eating 300 calories a day, or encouraging self-harm).
         7.    Defendants’ misconduct has been a substantial factor in causing a youth
mental health crisis, which has been marked by higher and higher proportions of youth
struggling with anxiety, depression, thoughts of self-harm, and suicidal ideation. The
rates at which children have struggled with mental health issues have climbed steadily
since 2010 and by 2018 made suicide the second leading cause of death for youths. The
pandemic and the corresponding increase in time youth spend on Defendants’ platforms
has only intensified this crisis.
         8.    The state of children’s mental health led the American Academy of
Pediatrics, the American Academy of Child and Adolescent Psychiatry, and the
Children’s Hospital Association to declare a national emergency, and the U.S. Surgeon
General to issue an advisory “to highlight the urgent need to address the nation’s youth
mental health crisis.”2

2
    AAP-AACAP-CHA Declaration of a National Emergency in Child and Adolescent
    Mental Health, Am. Acad. Pediatrics (Oct. 19, 2021),
    https://www.aap.org/en/advocacy/child-and-adolescent-healthy-mental-
    development/aap-aacap-cha-declaration-of-a-national-emergency-in-child-and-
    adolescent-mental-health/; U.S. Surgeon General Issues Advisory on Youth Mental
    Health Crisis Further Exposed by COVID-19 Pandemic, U.S. Dep’t Health & Hum.



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       9.     In his 2022 State of the Union Address, President Joe Biden also called
attention to the harm social media has wrought on youth and implored all to “hold social
media platforms accountable for the national experiment they’re conducting on our
children for profit.”3
       10.    Plaintiff Mesa Public Schools (“Plaintiff” or “MPS”) brings this action to
do just that. Youth in Plaintiff’s community are experiencing the same mental health
crisis observed nationally. The East Valley, where Plaintiff is located, has seen drastic
increases in suicides. From March to June 2022, at least eight teens died because of
suicide or a drug overdose.4 In 2021, roughly one in five Arizona teenagers had thoughts
of suicide.5 Suicide is now the third leading cause of death of children in Arizona.6 Many
school-aged children in Arizona also suffer from anxiety, depression, and other mental
disorders. In response to these stark numbers, the Arizona House of Representatives has
formed a special committee on teen mental health,7 and Governor Katie Hobbs has called
for prioritizing the hiring of social workers and counselors for Arizona schools “to




  Servs. (Dec. 7, 2021), https://www.hhs.gov/about/news/2021/12/07/us-surgeon-general-
  issues-advisory-on-youth-mental-health-crisis-further-exposed-by-covid-19-
  pandemic.html.
3
   President Biden, State of the Union Address (Mar. 1, 2022) (transcript available at
  https://www.whitehouse.gov/state-of-the-union-2022/).
4
   Paul Maryniak, Mesa Lawmaker Forms House Panel on Teen Crisis, E. Valley Trib.
  (June 6, 2022), https://www.eastvalleytribune.com/news/mesa-lawmaker-forms-house-
  panel-on-teen-crisis/article_bbc82c04-e379-11ec-8dc3-d7d51589b8e4.html.
5
  Kim Powell, Teen Suicide Rates in Arizona Higher than National Average, KOLD News
  13 (Sept. 15, 2021), https://www.kold.com/2021/09/15/teen-suicide-rates-arizona-
  higher-than-national-average/.
6
  Sara Crocker, Not All Right: Arizona’s Youth Mental Health Emergency, Phx. Mag. (Dec.
  27, 2022), https://www.phoenixmag.com/2022/12/27/not-all-right-arizonas-youth-
  mental-health-emergency/.
7
   Paul Maryniak, Mesa Lawmaker Forms House Panel on Teen Crisis, E. Valley Trib.
  (June 6, 2022), https://www.eastvalleytribune.com/news/mesa-lawmaker-forms-house-
  panel-on-teen-crisis/article_bbc82c04-e379-11ec-8dc3-d7d51589b8e4.html.



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address the mental health crisis among children and teens.”8
         11.    Students experiencing anxiety, depression, and other mental health issues
perform worse in school, are less likely to attend school, more likely to engage in
substance use, and to act out, all of which directly affects Mesa Public Schools’ ability to
fulfill its educational mission.
         12.    That is why Plaintiff, like 96 percent of other schools, provides mental
health services to its students. For example, Plaintiff trains its teachers and staff to screen
students for mental health symptoms and refer them to services, such as those offered by
the school-based health clinics it operates in partnership with behavioral health agencies.
But Plaintiff needs a comprehensive, long-term plan and funding to drive a sustained
reduction in the record rates of anxiety, depression, suicidal ideation, and other tragic
indices of the mental health crisis its youth are experiencing at Defendants’ hands.
                           II.     JURISDICTION AND VENUE
         13.    This Court has subject-matter jurisdiction over this case under 28 U.S.C.
§ 1332(a) because the amount in controversy exceeds $75,000, and Plaintiff and
Defendants are residents and citizens of different states.
         14.    The Court has personal jurisdiction over Defendants because they do
business in the District of Arizona and have sufficient minimum contacts with the
District. Defendants intentionally avail themselves of the markets in this State through
the promotion, marketing, and operations of their platforms at issue in this lawsuit in
Arizona, and by retaining the profits and proceeds from these activities, to render the
exercise of jurisdiction by this Court permissible under Arizona law and the United States
Constitution.
         15.    Venue is proper in the District of Arizona pursuant to 28 U.S.C.


8
    Transcript: Governor Hobbs 2023 State of the State Address, Office of the Governor
    Katie Hobbs (Jan. 9, 2023), https://azgovernor.gov/office-arizona-
    governor/news/2023/01/transcript-governor-hobbs-2023-state-state-address.



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§ 1391(b)(2) and (3) because a substantial part of the events or omissions giving rise to
the claims at issue in this Complaint arose in this District and Defendants are subject to
the Court’s personal jurisdiction with respect to this action.
                                     III.    PARTIES
A.     Plaintiff
       16.    Plaintiff Mesa Public Schools (“Plaintiff” or “MPS”), incorporated as
Mesa Unified School District #4, is the largest public school district in Arizona, serving
approximately 58,000 students in 78 schools. Mesa Public Schools is located in Maricopa
County, Arizona, the most populous county in Arizona and the fourth most populous
county in the United States.
B.     Facebook and Instagram Defendants
       17.    Defendant Meta Platforms, Inc. (“Meta”), formerly known as Facebook,
Inc., is a Delaware corporation with its principal place of business in Menlo Park,
California.
       18.    Defendant Meta develops and maintains social media platforms,
communication platforms, and electronic devices that are widely available to users
throughout the United States. The platforms developed and maintained by Meta include
Facebook (including its self-titled app, Marketplace, and Workplace), Messenger
(including Messenger Kids), Instagram, and a line of electronic virtual reality devices and
services called Meta Quest (collectively, “Meta platforms”).
       19.    Meta transacts or has transacted business in this District and throughout the
United States. At all times material to this Complaint, acting alone or in concert with its
subsidiaries (identified below), Meta has advertised, marketed, and distributed the Meta
platforms to consumers throughout the United States. At all times material to this
Complaint, Meta formulated, directed, controlled, had the authority to control, or
participated in the acts and practices set forth in this Complaint.
       20.    Defendant Meta’s subsidiaries include Facebook Holdings, LLC; Facebook




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Operations, LLC; Meta Payments Inc.; Meta Platforms Technologies, LLC; Instagram,
LLC; and Siculus, Inc.
       21.    Defendant Facebook Holdings, LLC (“Facebook Holdings”) was
organized under the laws of the state of Delaware on March 11, 2020, and is a wholly
owned subsidiary of Meta Platforms, Inc. Facebook Holdings is primarily a holding
company for entities involved in Meta’s supporting and international endeavors, and its
principal place of business is in Menlo Park, California. Defendant Meta is the sole
member of Facebook Holdings.
       22.    Defendant Facebook Operations, LLC (“Facebook Operations”) was
organized under the laws of the state of Delaware on January 8, 2012, and is a wholly
owned subsidiary of Meta Platforms, Inc. The principal place of business of Facebook
Operations is in Menlo Park, California. Defendant Meta is the sole member of Facebook
Operations.
       23.    Defendant Meta Payments Inc. (“Meta Payments”) was incorporated in
Florida on December 10, 2010, as Facebook Payments Inc. In July 2022, the entity’s
name was amended to Meta Payments Inc. Meta Payments is a wholly owned subsidiary
of Meta Platforms, Inc. Meta Payments manages, secures, and processes payments made
through Meta, among other activities, and its principal place of business is in Menlo Park,
California.
       24.    Defendant Meta Platforms Technologies, LLC (“Meta Technologies”) was
organized under the laws of the state of Delaware as “Oculus VR, LLC” on March 21,
2014, and acquired by Meta on March 25, 2014. In November 2018, the entity’s name
was amended to Facebook Technologies, LLC. In June 2022, the entity’s name was
amended again, this time to Meta Platforms Technologies, LLC. Meta Technologies
develops Meta’s virtual and augmented reality technology, such as the Meta Quest line of
services, among other technologies related to Meta’s platforms, and its principal place of
business is in Menlo Park, California. Defendant Meta is the sole member of Meta




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Technologies.
       25.    Defendant Instagram, LLC (“Instagram”) was founded by Kevin Systrom
and Mike Krieger in October 2010 and is a social media platform designed for photo and
video sharing. In April 2012, Meta purchased the company for approximately $1 billion.
Meta reformed the limited liability company under the laws of the state of Delaware on
April 7, 2012, and the company’s principal place of business is in Menlo Park, California.
Defendant Meta is the sole member of Instagram.
       26.    Defendant Siculus, Inc. (“Siculus”) was incorporated in Delaware on
October 19, 2011. Siculus is a wholly owned subsidiary of Meta, which supports Meta
platforms by constructing data facilities and other projects. Siculus’s principal place of
business is in Menlo Park, California.
C.     Snap Defendant
       27.    Defendant Snap Inc. (“Snap”) is a Delaware corporation with its principal
place of business in Santa Monica, California. Snap transacts or has transacted business
in this District and throughout the United States. At all times material to this Complaint,
acting alone or in concert with others, Snap has advertised, marketed, and distributed the
Snapchat social media platform to consumers throughout the United States. At all times
material to this Complaint, Snap formulated, directed, controlled, had the authority to
control, or participated in the acts and practices set forth in this Complaint.
D.     TikTok Defendants
       28.    Defendant TikTok Inc. was incorporated in California on April 30, 2015,
with its principal place of business in Culver City, California. TikTok Inc. transacts or
has transacted business in this District and throughout the United States. At all times
material to this Complaint, acting alone or in concert with others, TikTok Inc. has
advertised, marketed, and distributed the TikTok social media platform to consumers
throughout the United States. At all times material to this Complaint, acting alone or in
concert with ByteDance Inc., TikTok Inc. formulated, directed, controlled, had the




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authority to control, or participated in the acts and practices set forth in this Complaint.
       29.      Defendant ByteDance Inc. (“ByteDance”) is a Delaware corporation with
its principal place of business in Mountain View, California. ByteDance transacts or has
transacted business in this District and throughout the United States. At all times material
to this Complaint, acting alone or in concert with others, ByteDance has advertised,
marketed, and distributed the TikTok social media platform to consumers throughout the
United States. At all times material to this Complaint, acting alone or in concert with
TikTok Inc., ByteDance formulated, directed, controlled, had the authority to control, or
participated in the acts and practices set forth in this Complaint.
E.     YouTube Defendants
       30.      Defendant Alphabet Inc. is a Delaware corporation with its principal place
of business in Mountain View, California. Alphabet Inc. is the sole stockholder of XXVI
Holdings Inc.
       31.      Defendant XXVI Holdings Inc. is a Delaware corporation with its principal
place of business in Mountain View, California. XXVI Holdings, Inc. is a wholly owned
subsidiary of Alphabet Inc. and the managing member of Google LLC (“Google”).
       32.      Defendant Google is a limited liability company organized under the laws
of the state of Delaware, and its principal place of business is in Mountain View,
California. Google LLC is a wholly owned subsidiary of XXVI Holdings Inc., and the
managing member of YouTube, LLC. Google LLC transacts or has transacted business in
this District and throughout the United States. At all times material to this Complaint,
acting alone or in concert with others, Google LLC has advertised, marketed, and
distributed its YouTube video sharing platform to consumers throughout the United
States. At all times material to this Complaint, acting alone or in concert with YouTube,
LLC, Google LLC formulated, directed, controlled, had the authority to control, or
participated in the acts and practices set forth in this Complaint.
       33.      Defendant YouTube, LLC is a limited liability company organized under




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the laws of the state of Delaware, and its principal place of business is in San Bruno,
California. YouTube, LLC is a wholly owned subsidiary of Google LLC. YouTube, LLC
transacts or has transacted business in this District and throughout the United States. At
all times material to this Complaint, acting alone or in concert with Defendant Google
LLC, YouTube, LLC has advertised, marketed, and distributed its YouTube social media
platform to consumers throughout the United States. At all times material to this
Complaint, acting alone or in concert with Google LLC, YouTube, LLC formulated,
directed, controlled, had the authority to control, or participated in the acts and practices
set forth in this Complaint.
                         IV. FACTUAL ALLEGATIONS
A.     Millions of Youth Have Become Excessive and Problematic Users of Social
       Media
       34.    Researchers studying the effect social media9 has on the brain have shown
that social media exploits “the same neural circuitry” as “gambling and recreational drugs
to keep consumers using their products as much as possible.”10
       35.    As described below, each Defendant designed and marketed their exploitive
social media platform to be extremely popular with youth. And they have been
successful. Ninety percent of children ages 13–17 use social media.11 Younger children
also regularly use social media. One study reported 38 percent of children ages 8–12 used




9
  The term “social media” is commonly used to refer to text, photos, videos, and ideas that
  are exchanged among virtual communities. The interactive technologies that allow for the
  virtual exchange of these media among networks of users are known as social media
  platforms.
10
   Social Media Addiction, Addiction Ctr, https://www.addictioncenter.com/drugs/social-
  media-
  addiction/#:~:text=Due%20to%20the%20effect%20that,when%20taking%20an%20add
  ictive%20substance (last visited Dec. 8, 2022).
11
    Social Media and Teens, Am. Acad. Child & Adolescent Psychiatry (Mar. 2018),
  https://www.aacap.org/AACAP/Families_and_Youth/Facts_for_Families/FFF-
  Guide/Social-Media-and-Teens-100.aspx.



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social media in 2021.12 Other studies reveal numbers as high as 49 percent of children
ages 10–12 use social media and 32 percent of children ages 7–9 use social media.13
       36.    The most popular of these platforms is YouTube. A vast majority, 95
percent, of children ages 13-17 have used YouTube.14
       37.    TikTok has skyrocketed in popularity with teenagers since its merger with
Musical.ly in 2018. As of July 2020, “TikTok classified more than a third of its 49
million daily users in the United States as being 14 years old or younger[,]” and that
likely underestimates those under 14 and older teenagers (i.e., those between 15 and 18
years old) because TikTok claims not to know how old a third of its daily users are.15
TikTok is now the second most popular social media platform with over 67 percent of
children ages 13–17 having used the app.16
       38.    Instagram’s numbers are comparable to TikTok, with 62 percent of children
ages 13–17 reporting they have used the app.17
       39.    Snapchat also remains popular with youth, with 59 percent of children ages
13–17 reporting they have used the app. 18


12
   Victoria Rideout et al., The Common Sense Census: Media Use by Tweens and Teens,
  2021 at 5, Common Sense Media (2022),
  https://www.commonsensemedia.org/sites/default/files/research/report/8-18-census-
  integrated-report-final-web_0.pdf.
13
   Sharing Too Soon? Children and Social Media Apps, C.S. Mott Child.’s Hosp. Univ.
  Mich. Health (Oct. 18, 2021),
  https://mottpoll.org/sites/default/files/documents/101821_SocialMedia.pdf.
14
   Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug.
  10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
  technology-2022/.
15
   Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14 or
  Under, Raising Safety Questions, N.Y. Times (Sept. 17, 2020),
  https://www.nytimes.com/2020/08/14/technology/tiktok-underage-users-ftc.html.
16
   Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug.
10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
technology-2022/.
17
   Id.
18
   Id.



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       40.    Facebook rounds out the five most popular social media platforms, with 32
percent of children ages 13–17 reporting they have used Facebook’s app or website. 19
       41.    Teenagers who use these social media platforms are also likely to use them
every day. One study estimates that 62 percent of children ages 13–18 use social media
every day.20 An increasing number of younger children also use social media daily with
18 percent of children ages 8–12 reporting using a social media site at least once a day.21
       42.    Daily use for many teenagers does not consist of logging onto a platform
just once. Rather, many teenage users check social media repeatedly throughout the day.
In one study, teenage users reported checking Snapchat thirty times a day on average.22




19
   Id.
20
   Victoria Rideout et al., The Common Sense Census: Media Use by Tweens and Teens,
  2021 at 4, Common Sense Media (2022),
  https://www.commonsensemedia.org/sites/default/files/research/report/8-18-census-
  integrated-report-final-web_0.pdf.
21
   Id. at 5.
22
   Erinn Murphy et al., Taking Stock with Teens, Fall 2021 at 13, Piper Sandler (2021),
  tinyurl.com/89ct4p88.



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      43.    Even more alarming, some teenagers never stop looking at social media.23




      44.    Nearly 20 percent of teens use YouTube almost constantly.24 TikTok and
Snapchat are close behind, with near constant use rates among teens at 16 percent and 15
percent respectively.25 Meanwhile, 10 percent of teens use Instagram almost constantly.26
And two percent of teens report using Facebook almost constantly.27
      45.    Teenagers are aware of the grip social media has on their lives yet still
cannot stop using it. Thirty-six percent of teenagers admit they spend too much time on
social media.28 And over half of teens say that giving up social media would be


23
   Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug.
  10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
  technology-2022/.
24
   Id.
25
   Id.
26
   Id.
27
   Id.
28
   Id.



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somewhat hard, with nearly one-in-five teens saying giving up social media would be
very hard.29 And of the subgroup of teenagers who use at least one platform “almost
constantly,” 71 percent said giving up social media would be hard, with 32 percent saying
giving up social media would be very hard.30
       46.    The more that teenagers use social media, the harder they find it to give up.
Teenagers who say they spend too much time on social media are almost twice as likely
to say that giving up social media would be hard as teens who see their social media
usage as about right.31
       47.    Another study shows that among teenagers who regularly use social media,
32 percent “wouldn’t want to live without” YouTube.32 Twenty percent of teenagers said
the same about Snapchat; 13 percent said the same about both TikTok and Instagram; and
6 percent said the same about Facebook.33
       48.    Despite using social media frequently, most youth do not enjoy it. Only 27
percent of boys and 42 percent of girls ages 8–18 reported enjoying social media “a lot”
in 2021.34
B.     Research Has Confirmed the Harmful Effects of Social Media on Youth
       49.    Social media use—especially excessive use—has severe and wide-ranging
effects on youth mental health. Social media use is linked to increases in mental,
emotional, developmental, and behavior disorders. Independent research and internal data
from these social media platforms show social media has a direct negative impact on
teenagers’ mental health on various fronts.

29
   Id.
30
   Id.
31
   Id.
32
   Victoria Rideout et al., Common Sense Census: Media use by tweens and teens, 2021
  at 31, Common Sense Media (2022),
  https://www.commonsensemedia.org/sites/default/files/research/report/8-18-census-
  integrated-report-final-web_0.pdf.
33
   Id.
34
   Id. at 34.



                                    13
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       50.    In general, electronic screen use causes lower psychological well-being.35
This link is especially apparent among adolescents. Those with high screen time are twice
as likely to receive diagnoses of depression, anxiety, or need treatment for mental or
behavior health conditions compared to low screen time users.36
       51.    Social media specifically has a “detrimental effect on the psychological
health of its users.”37 One systematic review of 16 studies on the effects of social media
on mental health found social media use increases levels of anxiety and depression.38
       52.    Social media also has detrimental effects on the mental health of
adolescents specifically. Increased social media use increases depressive symptoms,
suicide-related outcomes, and suicide rates among adolescents.39
       53.    One of the primary reasons the use of social media is associated with
depressive symptoms among adolescents is because it encourages unhealthy social
comparison and feedback seeking behaviors.40 Because adolescents spend a majority of


35
   Jean M. Twenge & W. Keith Campbell, Associations between screen time and lower
  psychological well-being among children and adolescents: Evidence from a population-
  based study, 12 Prev. Med. Rep. 271–83 (2018),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6214874/; Ariel Shensa et al., Social
  Media Use and Depression and Anxiety Symptoms: A Cluster Analysis, 42(2) Am. J.
  Health Behav. 116–28 (2018),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5904786/.
36
   Jean M. Twenge & W. Keith Campbell, Associations between screen time and lower
  psychological well-being among children and adolescents: Evidence from a population-
  based study, 12 Prev. Med. Rep. 271–83 (2018),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6214874/.
37
   Fazida Karim et al., Social Media Use and Its Connection to Mental Health: A
  Systemic Review, Cureus Volume 12(6) (June 15, 2020),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7364393/.
38
   Id.
39
   Jean M. Twenge et al., Increases in Depressive Symptoms, Suicide-Related Outcomes,
  and Suicide Rates Among U.S. Adolescents After 2010 and Links to Increased New
  Media Screen Time, 6 Clinical Psych. Sci. 3–17 (2017),
  https://doi.org/10.1177/2167702617723376.
40
   Jacqueline Nesi & Mitchell J Prinstein, Using Social Media for Social Comparison and
  Feedback-Seeking: Gender and Popularity Moderate Associations with Depressive



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their time on social media looking at other users’ profiles and photos, they are likely to
engage in negative comparisons with their peers.41 Specifically, adolescents are likely to
engage in harmful upward comparisons with others they perceive to be more popular.42
       54.     Clinicians have also observed a clear relationship between youth social
media use and disordered eating behavior.43 The more social media accounts an
adolescent has, the greater disordered eating behaviors they exhibit. Additionally,
research shows the more time young girls spend on social media platforms, such as
Instagram and Snapchat, the more likely they are to develop disordered eating
behaviors.44
       55.     Social media use has also caused an increase in cyberbullying. The more
time an individual, especially males, spend on social media, the more likely they are to
commit acts of cyberbullying.45 Cyberbullying is now so common that most American
teens, 59 percent, have experienced some form of cyberbullying.46 This number includes


  Symptoms, 43 J. Abnormal Child Psych. 1427–38 (2015),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5985443/.
41
   Id.; see also Nino Gugushvili et al., Facebook use intensity and depressive symptoms: a
  moderated mediation model of problematic Facebook use, age, neuroticism, and
  extraversion at 3, BMC Psych. 10, 279 (2022), https://doi.org/10.1186/s40359-022-
  00990-7 (explaining that youth are particularly vulnerable because they “use social
  networking sites for construing their identity, developing a sense of belonging, and for
  comparison with others”).
42
   Id.
43
   Simon M. Wilksch et al., The relationship between social media use and disordered
  eating in young adolescents, 53 Int’l J. Eating Disorders 96–106 (2020),
  https://pubmed.ncbi.nlm.nih.gov/31797420/.
44
   Id.
45
    Amanda Giordano et al., Understanding Adolescent Cyberbullies: Exploring Social
  Media Addiction and Psychological Factors, 7(1) J. Child & Adolescent Counseling 42–
  55                                                                               (2021),
  https://www.tandfonline.com/doi/abs/10.1080/23727810.2020.1835420?journalCode=u
  cac20.
46
   Monica Anderson, A Majority of Teens Have Experienced Some Form of Cyberbullying,
  Pew Rsch. Ctr. (Sept. 27, 2018), https://www.pewresearch.org/internet/2018/09/27/a-
  majority-of-teens-have-experienced-some-form-of-cyberbullying/.



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42 percent of teens experiencing name calling; 32 percent being subject to false rumors;
25 percent receiving an unsolicited explicit image; 21 percent being subject to online
stalking; 16 percent receiving physical threats online; and 7 percent having had explicit
images of them shared without their consent.47
       56.    Social media use also contributes to sleep deprivation. Young adults who
spend a lot of time on social media during the day or check it frequently throughout the
week are more likely to suffer sleep disturbances than their peers who use social media
infrequently.48 In turn, disturbed and insufficient sleep is associated with poor health
outcomes.49
       57.    Defendants exacerbate the disruption of sleep by sending push notifications
and emails either at night when children should be sleeping or during school hours when
they should be studying, thereby prompting children to re-engage with Defendants’
platforms at times when using them is harmful to their health and well-being.50
       58.    Further, children are especially vulnerable to developing harmful behaviors
because their prefrontal cortex is not fully developed.51 Consequently, they find it
particularly difficult to exercise the self-control required to regulate their own use of
Defendants’ platforms. In this regard, self-regulation allows people to delay gratification,
postponing an immediate reward for a better reward later. Adolescents’ low capacity for


47
   Id.
48
    Jessica C. Levenson et al., The Association Between Social Media Use and Sleep
  Disturbance Among Young Adults, 85 Preventive Med. 36–41 (Apr. 2016),
  https://www.sciencedirect.com/science/article/abs/pii/S0091743516000025.
49
   Id.
50
   See, e.g., Beatrice Nolan, Kids are waking up in the night to check their notifications and
  are losing about 1 night’s worth of sleep a week, study suggests, Bus. Insider (Sept. 19,
  2022), https://www.businessinsider.com/social-media-costing-children-one-night-sleep-
  study-2022-9 (approximately 12.5% of children report waking up to check social media
  notifications).
51
   Nino Gugushvili et al., Facebook use intensity and depressive symptoms: a moderated
  mediation model of problematic Facebook use, age, neuroticism, and extraversion at 3,
  BMC Psych. 10, 279 (2022), https://doi.org/10.1186/s40359-022-00990-7.



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self-regulation means they are particularly vulnerable to the immediately pleasurable, but
ultimately harmful, effects of the repeated dopamine spikes caused by an external
stimulus, such as “likes” that activate the reward system in the brain.52
       59.     As discussed in further detail infra Section IV.D., these reward-based
learning systems “contribute to the maintenance of excessive usage patterns.”53
Researchers investigating the “directionality between social networking [platforms] and
problematic use,” have found that “increases in the intensity of use . . . predict[]
problematic use.”54 And empirical studies have found that problematic use is associated
with “insomnia, stress, relationship dissatisfaction, anxiety, social anxiety, and depressive
symptoms.”55
       60.     In this regard, adolescents are especially vulnerable to long-term harm from
Defendants’ platforms because excessive and problematic use can disrupt their brains’
development at a critical stage.
C.     As a Result, America’s Youth are Facing a Mental Health Crisis
       61.     The number of youths using Defendants’ social media platforms and the
intensity of their use has increased significantly since 2008, which has contributed to a
wide range of negative effects on youth mental health. Over that same time the number of
youths experiencing depression, contemplating suicide, seeking emergency room help for
mental health issues and—tragically—committing suicide has skyrocketed.
       62.     Today, one in five children ages 3–17 in the United States have a mental,
emotional, developmental, or behavioral disorder.56


52
   Id.
53
   Id.
54
   Id.
55
   Id. (collecting sources).
56
   U.S. Surgeon General Issues Advisory on Youth Mental Health Crisis Further Exposed
  by COVID-19 Pandemic, U.S. Dep’t Health & Hum. Servs. (Dec. 7, 2021),
  https://www.hhs.gov/about/news/2021/12/07/us-surgeon-general-issues-advisory-on-
  youth-mental-health-crisis-further-exposed-by-covid-19-pandemic.html.



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       63.    On December 7, 2021, these issues led the United States Surgeon General
to issue an advisory on youth the mental health crisis.57 In issuing the advisory, the
Surgeon General noted, “[m]ental health challenges in children, adolescents, and young
adults are real and widespread. Even before the pandemic, an alarming number of young
people struggled with feelings of helplessness, depression, and thoughts of suicide — and
rates have increased over the past decade.”58
       64.    While the report highlights ways in which the COVID-19 pandemic has
exacerbated mental health issues for American youth, it also highlights the mental health
challenges youth faced before the pandemic. Specifically, the report notes that before the
pandemic, “mental health challenges were the leading cause of disability and poor life
outcomes in young people.”59
       65.    Before the pandemic, one-in-five children ages 3–17 in the United States
had a mental, emotional, developmental, or behavior disorder.60
       66.    From 2009–19, the rate of high school students who reported persistent
feelings of sadness or hopelessness increased by 40 percent (to one out of every three
kids).61 The share of kids seriously considering attempting suicide increased by 36
percent and the share creating a suicide plan increased by 44 percent.62
       67.    From 2007 to 2019, suicide rates among youth ages 10–24 in the United


57
    Protecting Youth Mental Health: The U.S. Surgeon General’s Advisory, U.S. Dep’t
  Health & Hum. Servs. (Dec. 7, 2021), https://www.hhs.gov/sites/default/files/surgeon-
  general-youth-mental-health-advisory.pdf.
58
   U.S. Surgeon General Issues Advisory on Youth Mental Health Crisis Further Exposed
  by COVID-19 Pandemic, U.S. Dep’t Health & Hum. Servs. (Dec. 7, 2021),
  https://www.hhs.gov/about/news/2021/12/07/us-surgeon-general-issues-advisory-on-
  youth-mental-health-crisis-further-exposed-by-covid-19-pandemic.html.
59
   Id.
60
   Id.
61
   Protecting Youth Mental Health: The U.S. Surgeon General’s Advisory at 8, U.S. Dep’t
  Health & Hum. Servs. (Dec. 7, 2021), https://www.hhs.gov/sites/default/files/surgeon-
  general-youth-mental-health-advisory.pdf.
62
   Id.



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States increased by 57 percent.63 By 2018, suicide was the second leading cause of death
for youth ages 10–24.64
       68.     From 2007 to 2016, emergency room visits for youth ages 5–17 rose 117
percent for anxiety disorders, 44 percent for mood disorders, and 40 percent for attention
disorders.65
       69.     This and other data led the American Academy of Pediatrics, the American
Academy of Child and Adolescent Psychiatry, and the Children’s Hospital Association to
join the Surgeon General and declare a national emergency in child and adolescent
mental health.66
       70.     President Biden also addressed the mental health harms Defendants’
platforms have caused youth in his state of the union address this year.67 There he noted
that children were struggling from the harms of social media—even before the
pandemic—and called on all to “hold social media platforms accountable for the national
experiment they’re conducting on our children for profit.”68




63
   Id.
64
   AAP-AACAP-CHA Declaration of a National Emergency in Child and Adolescent
  Mental Health, Am. Acad. Pediatrics (Oct. 19, 2021),
  https://www.aap.org/en/advocacy/child-and-adolescent-healthy-mental-
  development/aap-aacap-cha-declaration-of-a-national-emergency-in-child-and-
  adolescent-mental-health/.
65
   Matt Richtel, A Teen’s Journey Into the Internet’s Darkness and Back Again, N.Y.
  Times (Aug. 22, 2022), https://www.nytimes.com/2022/08/22/health/adolescents-
  mental-health-technology.html.
66
   AAP-AACAP-CHA Declaration of a National Emergency in Child and Adolescent
  Mental Health, Am. Acad. Pediatrics (Oct. 19, 2021),
  https://www.aap.org/en/advocacy/child-and-adolescent-healthy-mental-
  development/aap-aacap-cha-declaration-of-a-national-emergency-in-child-and-
  adolescent-mental-health/.
67
   President Biden, State of the Union Address (Mar. 1, 2022) (transcript available at
  https://www.whitehouse.gov/state-of-the-union-2022/).
68
   Id.



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D.       Defendants Intentionally Market to, Design, and Operate Their Social Media
         Platforms for Youth Users

         71.   This mental health crisis is no accident. It is the result of the Defendants’
deliberate choices and affirmative actions to design and market their social media
platforms to attract youth.
         72.   Defendants each run and operate social media platforms. The interactive
features Defendants provide on their platforms are similar in many respects. For example,
Facebook, Instagram, Snap, TikTok, and YouTube all offer tailored “feeds” of content
curated by complex algorithms intended to learn your interests; ways to publicly express
affirmation for such curated content through “likes,” comments, and sharing or reposting
the content; and, in fact, each is known to copy the designs and features of one another.69
The salient features of Defendants’ social media platforms are described in more detail
below.
         73.   Defendants’ make money from their social media platforms by using them
as advertising platforms. Defendants collect data on their users’ viewing habits and
behaviors and use that data to sell advertisers access to their youth and other users to
allow those companies to promote their products. Advertisers pay a premium to target
advertisements to specific categories of users, including youth.
         74.   Defendants view youth, adolescent, and even pre-adolescent users as one of
their most valuable commodities as an audience for their advertisements. Young users are
central to Defendants’ business model and advertising revenue as children are more likely
than adults to use social media. Indeed, 95 percent of children ages 13–17 have




69
  See, e.g., Kevin Hurler, For Sites Like Instagram and Twitter, Imitation Is the Only Form
 of Flattery, Gizmodo (Aug. 16, 2022), https://gizmodo.com/instagram-tiktok-snapchat-
 facebook-meta-1849395419.



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cellphones,70 90 percent use social media,71 and 28 percent buy products and services
through social media.72
       75.    To profit from these young users, Defendants intentionally market their
platforms to youths and adolescents. For children under 13, the Children’s Online Privacy
Protection Act (“COPPA”)73 regulates the conditions under which platforms, like
Defendants’, can collect and use their information.
       76.    COPPA requires platforms that either target children under age 13 or have
actual knowledge of users under age 13 to obtain “verifiable parental consent” prior to
collecting and using information about children under age 13.74 Defendants have
blatantly violated COPPA or turned a blind eye to younger users on their platforms by
leaving users to self-report their age. More recently, Defendants embarked on a bolder
strategy and sought to capture pre-adolescent audiences by offering “kid versions” of
their platforms that, while not collecting and using their information, are reportedly
“designed to fuel [kids’] interest in the grown-up version.”75
       77.    To maximize revenue, Defendants have intentionally designed and operated
their platforms to maximize users’ screen time. Defendants have done so by building
features and operating their platforms in a manner intended to exploit human psychology
using complex algorithms driven by advanced artificial intelligence and machine-learning
systems. In this regard, Defendants have progressively modified their platforms in ways

70
   Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug.
  10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
  technology-2022/.
71
   Social Media and Teens, Am. Acad. Child & Adolescent Psychiatry (Mar. 2018),
  https://www.aacap.org/AACAP/Families_and_Youth/Facts_for_Families/FFF-
  Guide/Social-Media-and-Teens-100.aspx.
72
   Erinn Murphy et al., Taking Stock with Teens, Fall 2021 at 13, Piper Sandler (2021),
  tinyurl.com/89ct4p88.
73
   See 15 U.S.C. §§ 6501-6506.
74
   Id.
75
   Leonard Sax, Is TikTok Dangerous for Teens?, Inst. Fam. Stud. (Mar. 29, 2022),
  https://ifstudies.org/blog/is-tiktok-dangerous-for-teens-.



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that promote excessive and problematic use and have done so in ways known to be
harmful to children.
       78.    One way Defendants maximize the time users spend on their platforms
involves the design of feeds—whether of photos, videos, or sponsored or promoted
content. Each uses algorithms to serve users personalized content for them to consume ad
nauseum. Google’s former design ethicist, Tristan Harris, explained that this never-
ending stream is designed to “keep [users] scrolling, and purposely eliminate any reason
for [them] to pause, reconsider or leave.”76 Defendants’ feeds take “an experience that
was bounded and finite, and turn it into a bottomless flow that keeps going.”77 This “flow
state,” as psychologists describe it, “fully immerse[s]” users, distorts their perception of
time, and “has been shown to be associated with problematic use of social networking
sites.”78
       79.    A second way social media platforms manipulate users is through social
reciprocity. “Reciprocity,” from a psychology perspective, refers to the powerful social
phenomenon of how people respond to positive or, conversely, hostile actions.
Reciprocity means that in response to friendly actions, people respond in a friendly
manner and vice versa.79 Phillip Kunz best illustrated the automatic nature of reciprocity
through his Christmas card experiment. In the experiment, Mr. Kunz sent a group of



76
   Von Tristan Harris, The Slot Machine in Your Pocket, Spiegel Int’l (July 27, 2016),
  https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-
  design-a-1104237.html.
77
   Id.
78
   Gino Gugushvili et al., Facebook use intensity and depressive symptoms: a moderated
  mediation model of problematic Facebook use, age, neuroticism, and extraversion at 3,
  BMC Psych. 10, 279 (2022), https://doi.org/10.1186/s40359-022-00990-7.
79
   Ernst Fehr & Simon Gächter, Fairness and Retaliation: The Economics of Reciprocity,
  14(3) J. Econ. Persps. 159–81 (2000), https://www.researchgate.net/profile/Ernst-Fehr-
  2/publication/23756527_Fairness_and_Retaliation_The_Economics_of_Reciprocity/lin
  ks/5eb024e945851592d6b87d3b/Fairness-and-Retaliation-The-Economics-of-
  Reciprocity.pdf.



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complete strangers holiday cards with pictures of his family and included a brief note.80
Those people, whom he had never met or communicated with before, reciprocated,
flooding him with holiday cards.81 The majority of the responses did not even ask Mr.
Kunz who he was.82 They simply responded to his initial gesture with a reciprocal action.
          80.   Reciprocity is why Facebook and Snapchat automatically tell a “sender
when you ‘saw’ their message, instead of letting you avoid disclosing whether you read
it. As a consequence, you feel more obligated to respond[,]” immediately.83 That keeps
users on the platform or, through push notifications—another insidious tool—users feel
psychologically compelled to return to the platform.
          81.   A third way Defendants manipulate users to keep using or coming back to
their platforms is through the use of intermittent variable rewards (“IVR”). Slot machines
are a frequent example of how IVR works.84 Users pull a lever to win a prize. With each
pull, the user may or may not win a prize (i.e., an intermittent reward that varies in
value).
          82.   IVR works by spacing out dopamine triggering stimuli with dopamine
gaps—allowing for anticipation and craving to develop, which strengthens the desire to
engage in the activity with each release of dopamine.
          83.   Defendants bake IVR into the design and operations of their respective




80
   Phillip R. Kunz & Michael Woolcott, Season’s Greetings: From my status to yours, 5(3)
  Soc. Sci. Rsch. 269–78 (Sept. 1976), https://doi.org/10.1016/0049-089X(76)90003-X.
81
   Id.
82
   Id.
83
    Von Tristan Harris, The Slot Machine in Your Pocket, Spiegel Int’l (July 27, 2016),
  https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-
  design-a-1104237.html.
84
   See, e.g., Julian Morgans, The Secret Ways Social Media is Built for Addiction, Vice
  (May 17, 2017), https://www.vice.com/en/article/vv5jkb/the-secret-ways-social-media-
  is-built-for-addiction.



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platforms by “link[ing] a user’s action (like pulling a lever) with a variable reward.”85 For
example, when “we swipe down our finger to scroll the Instagram feed, we’re playing a
slot machine to see what photo comes next.”86 Meta also delays the time it takes to load
the feed. “This is because without that three-second delay, Instagram wouldn’t feel
variable.”87 Without that delay, there would be no time for users’ anticipation to build. In
slot machine terms, there would be “no sense of will I win? because you’d know
instantly. So the delay isn’t the app loading. It’s the cogs spinning on the slot machine.”88
Each of the Defendants’ platforms exploits this biochemical reaction among its users,
typically using “likes,” “hearts,” or other forms of approval that serve as the reward. See
infra Section IV.D.1–4.
       84.    “Everyone innately responds to social approval, but some demographics, in
particular teenagers, are more vulnerable to it than others.”89
       85.    Youth are especially vulnerable both to the ways in which Defendants
manipulate users to maximize their “watch time,” and to the resulting harms. Children’s
brains undergo a fundamental shift around age 10 that makes “preteens extra sensitive to
attention and admiration from others.” 90 Consequently, Defendants’ use of IVR,
reciprocity, and other “rewards” to maximize the time users spend on their platforms
exploits a vulnerability unique to youth. This “extra sensitivity” also puts them at greater


85
   Von Tristan Harris, The Slot Machine in Your Pocket, Spiegel Int’l (July 27, 2016),
  https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-
  design-a-1104237.html.
86
   Id.
87
   Julian Morgans, The Secret Ways Social Media is Built for Addiction, Vice (May 17,
  2017),     https://www.vice.com/en/article/vv5jkb/the-secret-ways-social-media-is-built-
  for-addiction.
88
   Id.
89
   Von Tristan Harris, The Slot Machine in Your Pocket, Spiegel Int’l (July 27, 2016),
  https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-
  design-a-1104237.html.
90
   Zara Abrams, Why young brains are especially vulnerable to social media, Am. Psych.
  Ass’n (Aug. 25, 2022), https://www.apa.org/news/apa/2022/social-media-children-teens.



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risk.
         86.   In adolescence, the structures of the brain “closely tied” to social media
activity and that drive instinctual behavior begin to change.91 The ventral striatum is one
of those structures. It receives a rush of dopamine and oxytocin, known as the “happy
hormones[,]” whenever we experience social rewards.92 Between the ages of 10 and 12,
the receptors for those happy hormones begin to multiply in this region of the brain,
which makes compliments on a new hairstyle, laughter from a classmate, or other social
rewards “start to feel a lot more satisfying.”93
         87.   Historically, these biological changes incentivized kids and teens to
develop healthy social skills and connections. “But arriving at school in a new pair of
designer jeans, hoping your crush will smile at you in the hallway, is worlds away from
posting a video on TikTok that may get thousands of views and likes,” according to
Mitch Prinstein, Chief Science Officer for the American Psychology Association. 94
         88.   Part of what makes the “interactions so different,”95 is that they are often
permanent and public in nature. There is no public ledger tracking the number of
consecutive days you have spoken to someone, like there is for Snap “streaks.” Similarly,
“[a]fter you walk away from a regular conversation, you don’t know if the other person
liked it, or if anyone else liked it[.]”96 Conversely, on Defendants’ platforms, kids, their
friends, and even complete strangers can publicly deliver or withhold social rewards in
the form of likes, comments, views, and follows.97
         89.   These social rewards release dopamine and oxytocin in the brains of youth
and adults alike but there are two key differences, as Chief Science Officer Prinstein

91
   Id.
92
   Id.
93
   Id.
94
   Id.
95
   Id.
96
   Id.
97
   Id.



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explained: “First, adults tend to have a fixed sense of self that relies less on feedback
from peers. Second, adults have a more mature prefrontal cortex, an area that can help
regulate emotional responses to social rewards.”98
       90.    Adolescents, by contrast, are in a “period of personal and social identity
formation,” much of which “is now reliant on social media.”99 “Due to their limited
capacity for self-regulation and their vulnerability to peer pressure,” adolescents “are at
greater risk of developing mental disorder.”100
       91.    Together, Meta, Snap, TikTok, and Google have designed, refined,
marketed, and operated their social media platforms to maximize the number of youths
who use their platforms and the time they spend on those platforms. Despite knowing that
social media inflicts harms on youth, Defendants have continued to create more
sophisticated versions of their platforms with features designed to keep users engaged
and maximize the amount of time they spend using social media. Defendants’ conduct in
designing and marketing exploitive and manipulative platforms, youth spend excessive
amounts of time on Defendants’ platforms.
       92.    Defendants’ efforts worked. The majority of teenagers use the same five
social media platforms: YouTube, TikTok, Instagram, Snapchat, and Facebook.101 Each
of these platforms individually boasts high numbers of teenage users.



98
   Id.
99
    Betul Keles et al., A systematic review: the influence of social media on depression,
  anxiety and psychological distress in adolescents, Int’l J. Adolescence & Youth (202)
  25:1,                 79–93                (Mar.                 3,             2019),
  https://www.researchgate.net/publication/331947590_A_systematic_review_the_influen
  ce_of_social_media_on_depression_anxiety_and_psychological_distress_in_adolescent
  s/fulltext/5c94432345851506d7223822/A-systematic-review-the-influence-of-social-
  media-on-depression-anxiety-and-psychological-distress-in-adolescents.pdf.
100
    Id.
101
    Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug.
10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
technology-2022/.



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       1.       Meta Intentionally Marketed to and Designed Their Social Media
                Platforms for Youth Users, Substantially Contributing to the Mental
                Health Crisis

                a.    The Meta Platform
       93.      The Meta platform, including Facebook and Instagram, are among the most
popular social networking platforms in the world, with more than 3.6 billion users
worldwide.102
                      (i)    The Facebook Platform
       94.      Facebook is a social networking platform that is one of Meta’s platforms.
       95.      Facebook was founded in 2004 and has become the largest social network
in the world. As of October 2021, Facebook had approximately 2.9 billion monthly active
users, approximately 2 billion of whom use Facebook every day.103
       96.      When Facebook was founded in 2004, only students at certain colleges and
universities could use the social media platform, and verification of college enrollment
was required to access Facebook.
       97.      In 2005, Facebook expanded and became accessible to students at more
universities around the world, after which Meta launched a high school version of
Facebook that also required an invitation to join.
       98.      Meta later expanded eligibility for Facebook to employees of several
companies, including Apple and Microsoft, and added more universities to its network.
       99.      In September 2006, Facebook became available to all internet users. At the
time, Meta claimed that it was open only to persons aged 13 and older with a valid email
address; however, on information and belief, Meta did not in fact require verification of a


102
    Felix Richter, Meta Reaches 3.6 Billion People Each Month, Statista (Oct. 29, 2021),
  https://www.statista.com/chart/2183/facebooks-mobile-users/.
103
    See id.; S. Dixon, Number of Daily Active Facebook Users Worldwide as of 3rd
  Quarter 2022 (in Millions), Statista (Oct. 27, 2022),
  https://www.statista.com/statistics/346167/facebook-global-dau/.



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user’s age or identity and did not actually verify users’ email addresses, such that
underage users could easily register an account with and access Facebook.
       100.   Facebook then underwent a series of changes aimed at increasing user
engagement and platform growth, without regard to user safety, including the following
changes:
       •      In 2009, Facebook launched the “like” button;
       •      In 2011, Facebook launched Messenger, its direct messaging service, and
started allowing people to subscribe to non-friends;
       •      In 2012, Facebook started showing advertisements in its news feed and
launched a real-time bidding system through which advertisers could bid on users based
on their visits to third-party websites;
       •      In 2014, Facebook’s facial recognition algorithm (DeepFace) reached near-
human accuracy in identifying faces;
       •      In 2015, Facebook made significant changes to its news feed algorithm to
determine what content to show users and launched its live-streaming service;
       •      In 2016, Facebook launched games for its social media platform, so that
users could play games without having to install new apps; and
       •      In 2017, Facebook launched Facebook Creator, an app for mobile video
posts that assists with content creation.
                      (ii)   The Instagram Platform
       101.   Instagram is a social media platform that launched in 2010, which Meta
acquired for $1 billion in April 2012.
       102.   Instagram enables users to share photos and videos with other users and to
view other users’ photos and videos. These photos and videos appear on users’ Instagram
“feeds,” which are virtually bottomless, scrollable lists of content.
       103.   After being acquired by Meta, Instagram experienced exponential user
growth, expanding from approximately 10 million monthly active users in September




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2012 to more than one billion monthly active users worldwide today, including
approximately 160 million users in the United States.104
       104.   Instagram’s user growth was driven by design and development changes to
the Instagram platform that increased engagement at the expense of the health and well-
being of Instagram’s users—especially the children using the platform.
       105.   For example, in August 2020, Instagram began hosting and recommending
short videos to users, called Reels.105 Like TikTok, Instagram allows users to view an
endless feed of Reels that are recommended and curated to users by Instagram’s
algorithm.
       106.   Instagram has become the most popular photo sharing social media
platform among children in the United States—approximately 72 percent of children
aged 13–17 in the United States use Instagram.106
              b.     Meta Markets Its Platforms to Youth
       107.   To maximize the revenue generated from relationships with advertisers,
Meta has expended significant effort to attract youth, including teens and preteens, to its
platforms, including designing features that appeal to them. Meta also views teenagers as
a way to attract other potential users, such as by using teenagers to recruit parents who
want to participate in their children’s lives as well as younger siblings who look to older
siblings as models for which social media platforms to use and how to use them.107

104
    S. Dixon, Number of Instagram Users Worldwide from 2020 to 2025 (in Billions),
  Statista (May 23, 2022), https://www.statista.com/statistics/183585/instagram-number-
  of-global-users/.
105
    Introducing Instagram Reels, Instagram (Aug. 5, 2020),
  https://about.instagram.com/blog/announcements/introducing-instagram-reels-
  announcement.
106
    Katherine Schaeffer, 7 Facts About Americans and Instagram, Pew Rsch. Ctr. (Oct. 7,
  2021), https://www.pewresearch.org/fact-tank/2021/10/07/7-facts-about-americans-and-
  instagram/.
107
    Sheera Frenkel et al., Instagram Struggles with Fears of Losing Its ‘Pipeline’: Young
  Users, N.Y. Times (Oct. 26, 2021),
  https://www.nytimes.com/2021/10/16/technology/instagram-teens.html.



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       108.   Meta explicitly targets teenagers. An internal Instagram marketing plan
reveals, Meta knows that “[i]f we lose the teen foothold in the U.S. we lose the pipeline”
for growth.108 To ensure that did not happen, Meta’s Instagram devoted almost all of its
$390 million annual marketing budget for 2018 to target teenagers.109
       109.   Meta also views preteens or “tweens” as a “valuable but untapped
audience,” even contemplating “exploring playdates as a growth lever.”110 Meta formed a
team to study preteens, endeavored to create more products designed for them, and
commissioned strategy papers regarding the “business opportunities” created.111




108
    Id.
109
    Id.
110
    Id.
111
    Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond
  Instagram Kids, Documents Show; It has investigated how to engage young users in
  response to competition from Snapchat, TikTok; 'Exploring playdates as a growth lever,
  Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-instagram-kids-
  tweens-attract-11632849667.



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       110.   For these reasons, the Meta platforms are designed to be used by children
and are actively marketed to children throughout the Meta markets in the United States.
Meta advertises to children through its own efforts as well as through advertisers that
create and target advertisements to children. Internal Meta documents establish that Meta
spends hundreds of millions of dollars researching, analyzing, and marketing to children
to find ways to make its platforms more appealing to these age groups and to maximize



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the time they spend on its platforms, as these age groups are seen as essential to Meta’s
long-term profitability and market dominance.112 For instance, after Instagram’s founders
left Meta in September 2018, “Facebook went all out to turn Instagram into a main
attraction for young audiences,” and “began concentrating on the ‘teen time spent’ data
point,” in order to “drive up the amount of time that teenagers were on the app with
features including Instagram Live, a broadcasting tool, and Instagram TV, where people
upload videos that run as long as an hour.”113
       111.   Similarly, Instagram’s popularity among young people is the result of
Meta’s deliberate efforts to target children—which in turn is driven by the desire of
advertisers and marketers to target children on Meta’s platforms. In fact, Meta’s
acquisition of Instagram was primarily motivated by its desire to make up for declines in
the use of Facebook by children, and Meta views Instagram as central to its ability to
attract and retain young audiences. A 2018 internal Meta marketing report is indicative of
this, lamenting the loss of teenage users to competitors’ platforms as “an existential
threat.”114 In contrast, a Meta presentation from 2019 indicated that “Instagram is well
positioned to resonate and win with young people,” and “[t]here is a path to growth if
Instagram can continue their trajectory.”115
       112.   With respect to pre-teens, Meta’s policy is that they cannot register an
account, but it knowingly lacks effective age-verification protocols. Since at least 2011,
Meta has known that its age-verification protocols are largely inadequate, estimating at


112
    Id.
113
    Sheera Frenkel et al., Instagram Struggles with Fears of Losing Its ‘Pipeline’: Young
  Users, N.Y. Times (Oct. 26, 2021),
  https://www.nytimes.com/2021/10/16/technology/instagram-teens.html.
114
    Id.
115
    Georgia Wells et al., Facebook Knows Instagram Is Toxic for Teen Girls, Company
  Documents Show; Its own in-depth research shows a significant teen mental-health
  issue that Facebook plays down in public, Wall St. J. (Sept. 14, 2021),
  https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-
  company-documents-show-11631620739.



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that time that it removed 20,000 children under age 13 from Facebook every day.116 In
2021, Adam Mosseri, the Meta executive in charge of Instagram, acknowledged users
under 13 can still “lie about [their] age now,” to register an account.117
       113.   Meta has yet to implement protocols to verify a users’ age, presumably
because it has strong business incentives not to or to laxly enforce its policy. Meta also
has agreements with cell phone manufacturers and/or providers and/or retailers, who
often pre-install its platforms on mobile devices prior to sale and without regard to the
age of the intended user of each such device. That is, even though Meta is prohibited
from providing the Meta platforms to users under the age of 13, Meta actively promotes
and provides underage users access to its platforms by encouraging and allowing cell
phone manufacturers to pre-install the platforms on mobile devices indiscriminately.
Consequently, approximately 11 percent of United States children between the ages of 9
and 11 used Instagram in 2020,118 despite Meta claiming to remove approximately
600,000 underage users per quarter.119
       114.   Meta’s efforts to attract young users have been successful. See supra
Section IV.A. In a recent study, 62 percent of children ages 13–17 reported they have

116
    Austin Carr, Facebook Booting “20,000” Underage Users Per Day: Reaction to
  Growing Privacy Concerns?, Fast Co. (Mar. 22, 2011),
  https://www.fastcompany.com/1741875/facebook-booting-20000-underage-users-day-
  reaction-growing-privacy-concerns.
117
    Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond
  Instagram Kids, Documents Show; It has investigated how to engage young users in
  response to competition from Snapchat, TikTok; 'Exploring playdates as a growth lever,
  Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-instagram-kids-
  tweens-attract-11632849667.
118
    Brooke Auxier et al., Parenting Children in the Age of Screens, Pew Rsch. Ctr. (July
  28, 2020), https://www.pewresearch.org/internet/2020/07/28/childrens-engagement-
  with-digital-devices-screen-time/.
119
    Georgia Wells & Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond
  Instagram Kids, Documents Show; It has investigated how to engage young users in
  response to competition from Snapchat, TikTok; 'Exploring playdates as a growth lever,
  Wall St. J. (Sept. 28, 2021), https://www.wsj.com/articles/facebook-instagram-kids-
  tweens-attract-11632849667.



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used the Instagram app and 32 percent of children ages 13–17 reported they have used
the Facebook app or website.
             c.     Meta Intentionally Maximizes the Time Users Spend on its
                    Platforms
       115.     The Meta platforms are designed to maximize user engagement, using
features that exploit the natural human desire for social interaction and the
neurophysiology of the brain’s reward systems to keep users endlessly scrolling, posting,
“liking,” commenting, and counting the number of “likes” and comments to their own
posts. The still-developing brains of children are particularly vulnerable to such
exploitation.
       116.     One of the ways in which Meta employs IVR is through its push
notifications and emails, which encourage habitual use and are designed to prompt users
to open and be exposed to content selected to maximize the use of Meta’s platforms and
the ads run on them. In particular, Meta spaces out notifications of likes and comments
into multiple bursts rather than notifying users in real time, so as to create dopamine gaps
that leave users craving in anticipation for more. In this regard, Meta’s push notifications
and emails are specifically designed to manipulate users into to reengaging with Meta’s
platforms to increase user engagement regardless of a user’s health or wellbeing.
       117.     Meta also exploits IVR to manipulate users with one of its most defining
features: the “Like” button. Meta knows “Likes” are a source of social comparison harm
for many users, as detailed below. Several Meta employees involved in creating the Like
button have since left Meta and have spoken publicly about the manipulative nature of
Meta’s platforms and the harm they cause users.120
       118.     Additionally, Meta designed other features of its platforms on IVR
principles, such as posts, comments, tagging, and the “pull to refresh” feature (which is

120
   See, e.g., Paul Lewis, ‘Our minds can be hijacked’: the tech insiders who fear a
 smartphone dystopia, Guardian (Oct. 6, 2017),
 https://www.theguardian.com/technology/2017/oct/05/smartphone-addiction-silicon-
 valley-dystopia.



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similar to the way that slot machines work).
       119.   Other design decisions were motivated by reciprocity, such as the use of
visual cues to reflect that someone is currently writing a message (a feature designed to
keep a user on the platform until they receive the message), and alerting users when a
recipient has read their message (which encourages the recipient to respond and return to
the platform to check for a response).
       120.   The Meta platforms are designed to encourage users to post content and to
like, comment, and interact with other users’ posts. Each new post that appears on a
user’s feed functions as a dopamine-producing social interaction in the user’s brain.
Similarly, likes, comments, and other interactions with user’s posts function as an even
stronger dopamine-producing stimulus than does seeing new posts from other users. This
in turn drives users to generate content they expect will generate many likes and
comments. In this regard, Meta has designed its platforms to function in concert, as
popular content posted by other users psychologically compels users to post similar
content themselves, trapping users—especially youth—in endless cycles of “little
dopamine loops.”121
              d.      Meta’s Algorithms Are Manipulative and Harmful
       121.   Meta also employs advanced computer algorithms and artificial intelligence
to make its platforms as engaging and habit forming as possible for users. For example,
the Meta platforms display curated content and employ recommendations that are
customized to each user by using sophisticated algorithms. The proprietary services
developed through such algorithms include News Feed (a newsfeed of stories and posts
published on the platform, some of which are posted by connections and others that are
suggested by Meta’s algorithms), People You May Know (algorithm-based suggestions

121
   Allison Slater Tate, Facebook whistleblower Frances Haugen says parents make 1 big
 mistake with social media, Today (Feb. 7, 2022),
 https://www.today.com/parents/teens/facebook-whistleblower-frances-haugen-
 rcna15256.



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of persons with common connections or background), Suggested for You, Groups You
Should Join, and Discover (algorithm-based recommendations of groups). Such
algorithm-based content and recommendations are pushed to each user in a steady stream
as the user navigates the platform as well as through notifications sent to the user’s
smartphone and email addresses when the user is disengaged with the platform.
       122.   Meta’s algorithms are not based exclusively on user requests or even user
inputs. Meta’s algorithms combine information entered or posted by the user on the
platform with the user’s demographics and other data points collected and synthesized by
Meta, make assumptions about that user’s interests and preferences, make predictions
about what else might appeal to the user, and then make very specific recommendations
of posts and pages to view and groups to visit and join based on rankings that will
optimize Meta’s key performance indicators. In this regard, Meta’s design dictates the
way content is presented, such as its ranking and prioritization.122
       123.   Meta’s current use of algorithms in its platforms is driven and designed to
maximize user engagement. Over time, Meta has gradually transitioned away from
chronological ranking, which organized the interface according to when content was
posted or sent, to prioritize Meaningful Social Interactions (“MSI”), which emphasizes
users’ connections and interactions such as likes and comments and gives greater
significance to the interactions of connections that appeared to be the closest to users.
Meta thus developed and employed an “amplification algorithm” to execute engagement-
based ranking, which considers a post’s likes, shares, and comments, as well as a
respective user’s past interactions with similar content, and exhibits the post in the user’s
newsfeed if it otherwise meets certain benchmarks.
       124.   Meta’s algorithms covertly operate on the principle that intense reactions


122
   See, e.g., Adam Mosseri, Shedding More Light on How Instagram Works, Instagram
 (June 8, 2021), https://about.instagram.com/blog/announcements/shedding-more-light-
 on-how-instagram-works.



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invariably compel attention. Because these algorithms measure reactions and
contemporaneously immerse users in the most reactive content, these algorithms
effectively work to steer users toward the most negative content, because negative
content routinely elicits passionate reactions.
       125.      Due to its focus on user engagement, Meta’s algorithms promote content
that is objectionable and harmful to many users. As set forth in greater detail below, Meta
was well aware of the harmful content that it was promoting but failed to change its
algorithms because the inflammatory content that its algorithms were feeding to users
fueled their return to the platforms and led to more engagement—which in turn helped
Meta sell more advertisements that generate most of its revenue. As such, Meta’s
algorithms promote harmful content because such content increases user engagement,
which thereby increases its appeal to advertisers and increases its overall value and
profitability.
       126.      Meta’s shift from chronological ranking to algorithm-driven content and
recommendations has changed the Meta platforms in ways that are profoundly dangerous
and harmful to children, whose psychological susceptibility to habit-forming platforms
put them at great risk of harm from the Meta platforms’ exploitive and harmful features.
In this regard, the algorithms used by Meta’s platforms exploit child users’ diminished
decision-making capacity, impulse control, emotional maturity, and psychological
resiliency caused by users’ incomplete brain development—and Meta specifically
designs its platforms with these vulnerabilities in mind.
                 e.     Meta’s Harmful “Feeds”
       127.      Both Facebook and Instagram show each user a “feed” that is generated by
an algorithm for that user, which consists of a series of photos and videos posted by
accounts that the user follows, along with advertising and content specifically selected
and promoted by Meta.
       128.      These feeds are virtually bottomless lists of content that enable users to




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scroll endlessly without any natural end points that would otherwise encourage them to
move on to other activities. In this regard, “[u]nlike a magazine, television show, or video
game,” the Meta platforms only rarely prompt their users to take a break by using
“stopping cues.”123 Meta’s “bottomless scrolling” feature is designed to encourages users
to use its platforms for unlimited periods of time.
       129.   Meta also exerts control over a user’s feed through certain ranking
mechanisms, escalation loops, and promotion of advertising and content specifically
selected and promoted by Meta based on, among other things, its ongoing planning,
assessment, and prioritization of the types of information most likely to increase user
engagement.
       130.   As described above, the algorithms generating a user’s feed encourage
excessive use and promote harmful content, particularly where the algorithm is designed
to prioritize the number of interactions rather than the quality of interactions.
       131.   In this regard, Meta utilizes private information of its child users to
“precisely target [them] with content and recommendations, assessing what will provoke
a reaction,” including encouragement of “destructive and dangerous behaviors,” which is
how Meta “can push teens into darker and darker places.”124 As such, Meta’s
“amplification algorithms, things like engagement based ranking . . . can lead children . . .
all the way from just something innocent like healthy recipes to anorexia promoting
content over a very short period of time.”125 Meta thus specifically selects and pushes this
harmful content on its platforms, for which it is then paid, and does so both for direct

123
    See Zara Abrams, How Can We Minimize Instagram’s Harmful Effects?, Am. Psych.
  Ass’n (Dec. 2, 2021), https://www.apa.org/monitor/2022/03/feature-minimize-
  instagram-effects.
124
    See Facebook Whistleblower Frances Haugen Testifies on Children & Social Media
  Use: Full Senate Hearing Transcript at 09:02, Rev (Oct. 5, 2021),
  https://www.rev.com/blog/transcripts/facebook-whistleblower-frances-haugen-testifies-
  on-children-social-media-use-full-senate-hearing-transcript (statement by Mr. Chairman
  Blumenthal).
125
    Id. at 37:34 (statement by Ms. Frances Haugen).



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profit and also to increase user engagement, resulting in additional profits down the road.
        132.   As one example, in 2021, Senators Richard Blumenthal, Marsha Blackburn
and Mike Lee tested and confirmed the fact that Meta’s platforms’ recommendation-
based feeds and features promote harmful content by opening test accounts purporting to
be teenage girls. Senator Blumenthal stated that, “[w]ithin an hour all our
recommendations promoted pro-anorexia and eating disorder content.”126 Likewise,
Senator Lee found that an account for a fake 13-year-old girl was quickly “flooded with
content about diets, plastic surgery and other damaging material for an adolescent
girl.”127
        133.   Meta’s Instagram platform features a feed of “Stories,” which are short-
lived photo or video posts that are accessible only for 24 hours. This feature encourages
constant, repeated, and compulsive use of Instagram, so that users do not miss out on
content before it disappears. As with other feeds, the presentation of content in a user’s
Stories is generated by an algorithm designed by Meta to maximize the amount of time a
user spends on the app.
        134.   Instagram also features a feed called “Explore,” which displays content
posted by users not previously “followed.” The content in “Explore” is selected and
presented by an algorithm designed by Meta to maximize the amount of time a user
spends on the app. As with other feeds, the Explore feature may be scrolled endlessly,
and its algorithm will continually generate new recommendations, encouraging users to
use the app for unlimited periods of time.
        135.   Instagram also features a feed called “Reels,” which presents short video
posts by users not previously followed. These videos play automatically, without input


126
    Vanessa Romo, 4 Takeaways from Senators' Grilling of Instagram's CEO About Kids
  and Safety, NPR (Dec. 8, 2021, 10:13 PM),
  https://www.npr.org/2021/12/08/1062576576/instagrams-ceo-adam-mosseri-hears-
  senators-brush-aside-his-promises-to-self-poli.
127
    Id.



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from the user, encouraging the user to stay on the app for indefinite periods of time. As
with other feeds, Reels content is selected and presented by an algorithm designed by
Meta to maximize the amount of time a user spends on the app.
            f.     For Years, Meta Has Been Aware That Its Platforms Harm
                   Children
       136.   In an internal slide presentation in 2019, Meta’s own researchers studying
Instagram’s effects on children concluded that “[w]e make body image issues worse for
one in three teen girls[.]”128 This presentation was one of many documents leaked by
former Meta employee Frances Haugen to journalists at the Wall Street Journal and
federal regulators in 2021.129 The Wall Street Journal’s reporting on the documents began
in September 2021 and caused a national and international uproar.
       137.   The leaked documents confirmed what social scientists have long
suspected, that social media platforms like Meta’s—and Instagram in particular—can
cause serious harm to the mental and physical health of children. Moreover, this capacity
for harm is by design—what makes the Meta platforms profitable is precisely what harms
its young users.
       138.   Upon information and belief, at least as far back as 2019, Meta initiated a
Proactive Incident Response experiment, which began researching the effect of Meta on




128
    Georgia Wells et al., Facebook Knows Instagram Is Toxic for Teen Girls, Company
  Documents Show; Its own in-depth research shows a significant teen mental-health issue
  that Facebook plays down in public, Wall St. J. (Sept. 14, 2021),
  https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-
  company-documents-show-11631620739.
129
    The Wall Street Journal and Digital Wellbeing published several of these documents in
  November 2021. See Paul Marsden, The ‘Facebook Files’ on Instagram Harms—All
  Leaked Slides on a Single Page, Digit. Wellbeing (Oct. 20, 2021),
  https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-
  a-single-page/. Gizmodo also started publishing these documents in November 2021. See
  Dell Cameron et al., Read the Facebook Papers for Yourself, Gizmodo (Apr. 18, 2022),
  https://gizmodo.com/facebook-papers-how-to-read-1848702919.



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the mental health of today’s children.130 Meta’s own in-depth analyses show significant
mental-health issues stemming from the use of Instagram among teenage girls, many of
whom linked suicidal thoughts and eating disorders to their experiences on the app.131 In
this regard, Meta’s researchers have repeatedly found that Instagram is harmful for a
sizable percentage of teens that use the platform.132
       139.   In particular, the researchers found that “[s]ocial comparison,” or peoples’
assessment of their own value relative to that of others, is “worse on Instagram” for teens
than on other social media platforms.133 One in five teens reported that Instagram “makes
them feel worse about themselves.”134 Roughly two in five teen users reported feeling
“unattractive,” while one in 10 teen users reporting suicidal thoughts traced them to
Instagram.135 Teens “consistently” and without prompting blamed Instagram “for
increases in the rate of anxiety and depression.”136 And although teenagers identify
Instagram as a source of psychological harm, they often lack the self-control to use
Instagram less. Also, according to Meta’s own researchers, young users are not capable
of controlling their Instagram use to protect their own health.137 Such users “often feel
‘addicted’ and know that what they’re seeing is bad for their mental health but feel
unable to stop themselves.”138
       140.   Similarly, in a March 2020 presentation posted to Meta’s internal message

130
    See Facebook Whistleblower Testifies on Protecting Children Online, C-SPAN (Oct.
  5, 2021), https://www.c-span.org/video/?515042-1/whistleblower-frances-haugen-calls-
  congress-regulate-facebook.
131
    See Georgia Wells et al., Facebook Knows Instagram Is Toxic for Teen Girls,
  Company Documents Show, Wall St. J. (Sept. 14, 2021, 7:59 AM),
  https://www.wsj.com/articles/facebook-knows-instagram-is-toxic-for-teen-girls-
  company-documents-show-11631620739?mod=hp_lead_pos7&mod=article_inline.
132
    Id.
133
    Id.
134
    Id.
135
    Id.
136
    Id.
137
    Id.
138
    Id.



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board, researchers found that “[t]hirty-two percent of teen girls said that when they felt
bad about their bodies, Instagram made them feel worse.” 139 Sixty-six percent of teen
girls and 40 percent of teen boys have experienced negative social comparison harms on
Instagram.140 Further, approximately 13 percent of teen-girl Instagram users say the
platform makes thoughts of “suicide and self-harm” worse, and 17 percent of teen-girl
Instagram users say the platform makes “[e]ating issues” worse.141 Meta’s researchers
also acknowledged that “[m]ental health outcomes” related to the use of Instagram “can
be severe,” including “Body Dissatisfaction,” “Body Dysmorphia,” “Eating Disorders,”
“Loneliness,” and “Depression.”142
       141.   Not only is Meta aware of the harmful nature of the Meta platforms, the
leaked documents reveal that Meta is aware of the specific design features that lead to


139
    Id.; Teen Girls Body Image and Social Comparison on Instagram—An Exploratory
  Study in the U.S., Wall St. J. (Sept. 29, 2021), https://digitalwellbeing.org/wp-
  content/uploads/2021/10/Facebook-Files-Teen-Girls-Body-Image-and-Social-
  Comparison-on-Instagram.pdf; see also Hard Life Moments-Mental Health Deep Dive
  at 14, Facebook (Nov. 2019), https://about.fb.com/wp-
  content/uploads/2021/09/Instagram-Teen-Annotated-Research-Deck-1.pdf; Paul
  Marsden, The ‘Facebook Files’ on Instagram arms – all leaked slides on a single page
  at slide 14, Dig. Wellbeing (Oct. 20, 2021) https://digitalwellbeing.org/the-facebook-
  files-on-instagram-harms-all-leaked-slides-on-a-single-page (hard life moment – mental
  health deep dive).
140
    Teen Girls Body Image and Social Comparison on Instagram—An Exploratory Study
  in the U.S. at 9, Wall St. J. (Sept. 29, 2021), https://digitalwellbeing.org/wp-
  content/uploads/2021/10/Facebook-Files-Teen-Girls-Body-Image-and-Social-
  Comparison-on-Instagram.pdf.
141
    Hard Life Moments-Mental Health Deep Dive at 14, Facebook (Nov. 2019),
  https://about.fb.com/wp-content/uploads/2021/09/Instagram-Teen-Annotated-Research-
  Deck-1.pdf; Paul Marsden, The Facebook Files’ on Instagram arms – all leaked slides
  on a single page age at slide 14, Dig. Wellbeing (Oct. 20, 2021),
  https://digitalwellbeing.org/the-facebook-files-on-instagram-harms-all-leaked-slides-on-
  a-single-page.
142
    Teen Girls Body Image and Social Comparison on Instagram—An Exploratory Study
  in the U.S. at 34, Wall St. J. (Sept. 29, 2021), https://digitalwellbeing.org/wp-
  content/uploads/2021/10/Facebook-Files-Teen-Girls-Body-Image-and-Social-
  Comparison-on-Instagram.pdf.



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excessive use and harm to children. For instance, Meta knows that Instagram’s Explore,
Feed, and Stories features contribute to social comparison harms “in different ways.”143
Moreover, specific “[a]spects of Instagram exacerbate each other to create a perfect
storm” of harm to users, and that the “social comparison sweet spot”—a place of
considerable harm to users, particularly teenagers and teen girls—lies at the center of
Meta’s model and platforms’ features.144 In this regard, Meta’s researchers wrote that
“[s]ocial comparison and perfectionism are nothing new, but young people are dealing
with this on an unprecedented scale,” and “[c]onstant comparison on Instagram is ‘the
reason’ why there are higher levels of anxiety and depression in young people.”145

       2.     Snapchat Intentionally Marketed to and Designed Its Social Media
              Platform for Youth Users, Substantially Contributing to the Mental
              Health Crisis

              a.     The Snapchat Platform
       142.   Snapchat was created in 2011 by Stanford University students Evan Spiegel
and Bobby Murphy, who serve as Snap Inc.’s CEO and CTO respectively. 146
       143.   Snapchat started as a photo sharing platform that allows users to form
groups and share photos, known as “snaps,” that disappear after being viewed by the
recipients. Snapchat became well known for this self-destructing content feature. But
Snapchat quickly evolved from a simple photo-sharing app, as Snap made design changes
and rapidly developed new features aimed at and ultimately increasing Snapchat’s
popularity among teenage users.
       144.   In 2012, Snap added video sharing capabilities, pushing the number of


143
    Id. at 31.
144
    Id. at 33.
145
     See Hard Life Moments-Mental Health Deep Dive at 53, Facebook (Nov. 2019),
  https://about.fb.com/wp-content/uploads/2021/09/Instagram-Teen-Annotated-Research-
  Deck-1.pdf.
146
    Katie Benner, How Snapchat is Shaping Social Media, N.Y. Times (Nov. 30, 2016),
  https://www.nytimes.com/2016/11/30/technology/how-snapchat-works.html.



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“snaps” to 50 million per day.147 A year later, Snap added the “Stories” function, which
allows users to upload a rolling compilation of snaps that the user’s friends can view for
24 hours.148 The following year, Snap added a feature that enabled users to communicate
with one another in real time via text or video.149 It also added the “Our Story” feature,
expanding on the original stories function by allowing users in the same location to add
their photos and videos to a single publicly viewable content stream.150 At the same time,
Snap gave users the capability to add filters and graphic stickers onto photos indicating a
user’s location, through a feature it refers to as “Geofilters.”151
       145.   In 2015, Snap added a “Discover” feature that promotes videos from news
outlets and other content creators.152 Users can watch that content by scrolling through
the Discover feed. After the selected video ends, Snapchat automatically plays other
video content in a continuous stream unless or until a user manually exits the stream.
       146.   In 2020, Snap added the “Spotlight” feature through which it serves users
“an endless feed of user-generated content” Snap curates from the 300 million daily




147
    J.J. Colao, Snapchat Adds Video, Now Seeing 50 Million Photos A Day, Forbes (Dec.
  14, 2012), https://www.forbes.com/sites/jjcolao/2012/12/14/snapchat-adds-video-now-
  seeing-50-million-photos-a-day/?sh=55425197631b.
148
    Ellis Hamburger, Snapchat’s Next Big Thing: ‘Stories’ That Don’t Just Disappear,
  Verge (Oct. 3, 2013), https://www.theverge.com/2013/10/3/4791934/snapchats-next-
  big-thing-stories-that-dont-just-disappear.
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    Romain Dillet, Snapchat Adds Ephemeral Text Chat and Video Calls, TechCrunch
  (May 1, 2014), https://techcrunch.com/2014/05/01/snapchat-adds-text-chat-and-video-
  calls/.
150
    Laura Stampler, Snapchat Just Unveiled a New Feature, Time (June 17, 2014),
  https://time.com/2890073/snapchat-new-feature/.
151
    Angela Moscaritolo, Snapchat Adds ‘Geofilters’ in LA, New York, PC Mag. (July 15,
  2014), https://www.pcmag.com/news/snapchat-adds-geofilters-in-la-new-york.
152
    Steven Tweedie, How to Use Snapchat’s New ‘Discover’ Feature, Bus. Insider (Jan.
  27, 2015), https://www.businessinsider.com/how-to-use-snapchat-discover-feature-
  2015-1.



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Snapchat users.153
       147.   Today, Snapchat is one of the largest social media platforms in the world.
By its own estimates, Snapchat has 363 million daily users, including 100 million daily
users in North America.154 Snapchat reaches 90 percent of people ages 13–24 in over
twenty countries and reaches nearly half of all smartphone users in the United States.155
              b.     Snap Markets Its Platform to Youth
       148.   Snapchat’s commercial success is due to its advertising. In 2014, Snap
began running advertisements on Snapchat.156 Since then, Snapchat’s business model has
revolved around its advertising revenue, which has boomed. Snap now expects to
generate $4.86 billion in Snapchat advertising revenue for 2022.157
       149.   Snap specifically markets Snapchat to children ages 13–17 because they are
a key demographic for Snap’s advertising business. Internal documents describe users
between the ages of 13–34 as “critical” to Snap’s advertising success because of the
common milestones achieved within that age range.158




153
    Salvador Rodriguez, Snap is launching a competitor to TikTok and Instagram Reels,
  CNBC (Nov. 23, 2020), https://www.cnbc.com/2020/11/23/snap-launching-a-
  competitor-to-tiktok-and-instagram-reels.html.
154
    October 2022 Investor Presentation at 5, Snap Inc. (Oct. 20, 2022),
  https://investor.snap.com/events-and-presentations/presentations/default.aspx.
155
    Id. at 6–7.
156
    Sara Fischer, A timeline of Snap’s advertising, from launch to IPO, Axios (Feb. 3,
  2017), https://www.axios.com/2017/12/15/a-timeline-of-snaps-advertising-from-launch-
  to-ipo-1513300279.
157
    Bhanvi Staija, TikTok's ad revenue to surpass Twitter and Snapchat combined in
  2022, Reuters (Apr. 11, 2022), https://www.reuters.com/technology/tiktoks-ad-revenue-
  surpass-twitter-snapchat-combined-2022-report-2022-04-11/.
158
    October 2022 Investor Presentation at 27, Snap Inc. (Oct. 20, 2022),
  https://investor.snap.com/events-and-presentations/presentations/default.aspx.



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       150.   While Snap lumps teenagers in with younger adults in its investor
materials, Snap marketing materials featuring young models reveal its priority market:




       151.   In addition to its marketing, Snap has targeted a younger audience by
designing Snapchat in a manner that older individuals find hard to use.159 The effect of
this design is that Snapchat is a platform where its young users are insulated from older
users including their parents. As Snap’s CEO explained, “[w]e’ve made it very hard for
parents to embarrass their children[.]”160
       152.   Snap also designed Snapchat as a haven for young users to hide content
from their parents by ensuring that photos, videos, and chat messages quickly disappear.

159
    See Hannah Kuchler & Tim Bradshaw, Snapchat’s Youth Appeal Puts Pressure on
  Facebook, Fin. Times (Aug. 21, 2017), https://www.ft.com/content/07e4dc9e-86c4-
  11e7-bf50-e1c239b45787.
160
    Max Chafkin & Sarah Frier, How Snapchat Built a Business by Confusing Olds,
  Bloomberg (Mar. 3, 2016), https://www.bloomberg.com/features/2016-how-snapchat-
  built-a-business/.



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This design further insulates children from adult oversight.
       153.   Moreover, Snap added as a feature the ability for users to create cartoon
avatars modeled after themselves.161 By using an artform generally associated with and
directed at younger audiences, Snap further designed Snapchat to entice teenagers and
younger children.
       154.   In 2013, Snap also marketed Snapchat specifically to kids under 13 through
a feature it branded “SnapKidz.”162 This feature—part of the Snapchat platform—allowed
children under 13 to take photos, draw on them, and save them locally on the device.163
Kids could also send these images to others or upload them to other social media sites.164
       155.   While SnapKidz feature was later discontinued and Snap purports to now
prohibit users under the age of 13, its executives have admitted that its age verification
“is effectively useless in stopping underage users from signing up to the Snapchat
app.”165
       156.   Snap’s efforts to attract young users have been successful. See supra
Section IV.A. Teenagers consistently name Snapchat as a favorite social media platform.
The latest figures show 13 percent of children ages 8–12 used Snapchat in 2021,166 and



161
    Kif Leswing, Snapchat just introduced a feature it paid more than $100 million for,
  Bus. Insider (July 19, 2016), https://www.businessinsider.com/snapchat-just-introduced-
  a-feature-it-paid-more-than-100-million-for-2016-7.
162
    Larry Magid, Snapchat Creates SnapKidz – A Sandbox for Kids Under 13, Forbes
  (June 23, 2013), https://www.forbes.com/sites/larrymagid/2013/06/23/snapchat-creates-
  snapkidz-a-sandbox-for-kids-under-13/?sh=7c682a555e5a.
163
    Id.
164
    Id.
165
    Isobel Asher Hamilton, Snapchat admits its age verification safeguards are effectively
  useless, Bus. Insider (Mar. 19, 2019), https://www.businessinsider.com/snapchat-says-
  its-age-verification-safeguards-are-effectively-useless-2019-3.
166
    Victoria Rideout et al., Common Sense Census: Media use by tweens and teens, 2021
  at 5, Common Sense Media (2022),
  https://www.commonsensemedia.org/sites/default/files/research/report/8-18-census-
  integrated-report-final-web_0.pdf.



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almost 60 percent of children ages 13–17 use Snapchat.167
             c.     Snap Intentionally Maximizes the Time Users Spend on its
                    Platform
       157.   Snap promotes excessive use of its platform through design features and
manipulative algorithms intended to maximize users’ screen time.
       158.   Snap has implemented inherently and intentionally exploitive features into
Snapchat, including “Snapstreaks,” various trophies and reward systems, quickly
disappearing (“ephemeral”) messages, and filters. Snap designed these features, along
with others, to maximize the amount of time users spend on Snapchat.
       159.   Snaps are intended to manipulate users by activating the rule of
reciprocation.168 Whenever a user gets a snap, they feel obligated to send a snap back.
And Snapchat tells users each time they receive a snap by pushing a notification to the
recipient’s cellphone. These notifications are designed to prompt users to open Snapchat
and view content, increasing the amount of time users spend on Snapchat. Further,
because snaps disappear within ten seconds of being viewed, users feel compelled to
reply immediately. This disappearing nature of snaps is a defining characteristic of
Snapchat and intended keep users on the platform.
       160.   Snap also keeps users coming back to the Snapchat platform through the
“Snapstreaks” feature.169 A “streak” is a counter within Snapchat that tracks how many

167
     Emily Vogels et al., Teens, Social Media and Technology 2022, Pew Rsch. Ctr. (Aug.
  10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
  technology-2022/.
168
     Nir Eyal, The Secret Psychology of Snapchat, Nir & Far (Apr. 14, 2015),
  https://www.nirandfar.com/psychology-of-snapchat/.
169
    See Avery Hartmans, These are the sneaky ways apps like Instagram, Facebook,
  Tinder lure you in and get you ‘addicted’, Bus. Insider (Feb. 17 2018),
  https://www.businessinsider.com/how-app-developers-keep-us-addicted-to-our-
  smartphones-2018-1#snapchat-uses-snapstreaks-to-keep-you-hooked-13; see generally
  Virginia Smart & Tyana Grundig, ‘We’re designing minds’: Industry insider reveals
  secrets of addictive app trade, CBC (Nov. 3, 2017),
  https://www.cbc.ca/news/science/marketplace-phones-1.4384876; Julian Morgans, The
  Secret Ways Social Media is Built for Addiction, Vice (May 17, 2017),



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consecutive days two users have sent each other snaps. If a user fails to snap the other
user within 24 hours, the streak ends. Snap adds extra urgency by putting an hourglass
emoji next to a friend’s name if a Snapchat streak is about to end.170 This design
implements a system where a user must “check constantly or risk missing out.”171 And
this feature is particularly effective on teenage users. “For teens in particular, streaks are
a vital part of using the app, and of their social lives as a whole.”172 Some children
become so obsessed with maintaining a Snapstreak that they give their friends access to
their accounts when they may be away from their phone for a day or more, such as on
vacation.173
       161.    Snap also designed features that operate on IVR principles to maximize the
time users are on its platform. The “rewards” come in the form of a user’s “Snapscore,”
and other signals of recognition similar to “likes” used in other platforms. For example, a
Snapscore increases with each snap a user sends and receives. The increase in score and
other trophies and charms users can earn by using the app operate on variable reward
patterns. Like Snapstreaks, these features are designed to incentivize sending snaps and


  https://www.vice.com/en/article/vv5jkb/the-secret-ways-social-media-is-built-for-
  addiction.
170
    Lizette Chapman, Inside the Mind of a Snapchat Streaker, Bloomberg (Jan. 30, 2017),
  https://www.bloomberg.com/news/features/2017-01-30/inside-the-mind-of-a-snapchat-
  streaker.
171
    Id.
172
    Avery Hartmans, These are the sneaky ways apps like Instagram, Facebook, Tinder
  lure you in and get you ‘addicted’, Bus. Insider (Feb. 17 2018),
  https://www.businessinsider.com/how-app-developers-keep-us-addicted-to-our-
  smartphones-2018-1#snapchat-uses-snapstreaks-to-keep-you-hooked-13; see generally
  Cathy Becker, Experts warn parents how Snapchat can hook in teens with streaks, ABC
  News (July 27, 2017), https://abcnews.go.com/Lifestyle/experts-warn-parents-snapchat-
  hook-teens-streaks/story?id=48778296.
173
    Caroline Knorr, How to resist technology addiction, CNN (Nov. 9, 2017),
  https://www.cnn.com/2017/11/09/health/science-of-tech-obsession-partner/index.html;
  Jon Brooks, 7 Specific Tactics Social Media Companies Use to Keep You Hooked,
  KQED (June 9, 2017), https://www.kqed.org/futureofyou/397018/7-specific-ways-
  social-media-companies-have-you-hooked.



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increase the amount of time users spend on Snapchat.
       162.   Snap also designs photo and video filters and lenses, which are central to
Snapchat’s function as a photo and video sharing social media platform. Snap designed
its filters and lenses in a way to further maximize the amount of time users spend on
Snapchat. One way Snap uses its filters to hook young users is by creating temporary
filters that impose a sense of urgency to use them before they disappear. Another way
Snap designed its filters to increase screen use is by gamification. Many filters include
games,174 creating competition between users by sending each other snaps with scores.
Further, Snap tracks data on the most commonly used filters and develops new filters
based on this data.175 And Snap personalizes filters to further entice individuals to use
Snapchat more.176 Snap designs and modifies these filters to maximize the amount of
time users spend on Snapchat.
              d.     Snapchat’s Algorithms Are Manipulative and Harmful
       163.   Snap also uses complex algorithms to suggest friends to users and
recommend content in order to keep users using Snapchat.
       164.   Snap notifies users based on an equation Snap uses to determine whether
someone should add someone else as a friend on Snapchat. This is known as “Quick
Add.” By using an algorithm to suggest friends to users, Snapchat increases the odds
users will add additional friends, send additional snaps, and spend more time on the app.
       165.   Snapchat also contains “Discover” and “Spotlight” features that use
algorithms to recommend content to users. The Discover feature includes content from




174
     Josh Constine, Now Snapchat Has ‘Filter Games’, TechCrunch (Dec. 23, 2016),
  https://techcrunch.com/2016/12/23/snapchat-games/.
175
     How We Use Your Information, Snap Inc., https://snap.com/en-US/privacy/your-
  information (last visited Dec. 8, 2022).
176
    Id.



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news and other media outlets.177 A user’s Discover page is populated by an algorithm and
constantly changes depending on how a user interacts with the content.178 Similarly, the
Spotlight feature promotes popular videos from other Snapchat users and is based on an
algorithm that determines whether a user has positively or negatively engaged with
similar content.179 Snap programs its algorithms to push content to users that will keep
them engaged on Snapchat and, thereby, increase the amount of time users spend on
Snapchat, worsening their mental health.

               e.    Snap’s Conduct in Designing and Operating Its Platform Has
                     Harmed Youth Mental Health

       166.    The way in which Snap has designed and operated Snapchat has caused
youth to suffer increased anxiety, depression, disordered eating, cyberbullying, and sleep
deprivation.
       167.    Snap knows Snapchat is harming youth because, as alleged above, Snap
intentionally designed Snapchat to maximize engagement by preying on the psychology
of children through its use of algorithms and other features including Snapstreaks,
various trophies and reward systems, quickly disappearing messages, filters, and games.
       168.    Snap should know that its conduct has negatively affected youth. Snap’s
conduct has been the subject of inquiries by the United States Senate regarding
Snapchat’s use “to promote bullying, worsen eating disorders, and help teenagers buy
dangerous drugs or engage in reckless behavior.”180 Further, Senators from across the

177
    Steven Tweedie, How to Use Snapchat’s New ‘Discover’ Feature, Bus. Insider (Jan.
  27, 2015), https://www.businessinsider.com/how-to-use-snapchat-discover-feature-
  2015-1.
178
    How We Use Your Information, Snap Inc., https://snap.com/en-US/privacy/your-
  information (last visited Dec. 8, 2022).
179
    Sara Fischer, Snapchat launches Spotlight, a TikTok competitor, Axios (Nov. 23,
  2020), https://www.axios.com/2020/11/23/snapchat-launches-spotlight-tiktok-
  competitor; https://snap.com/en-US/privacy/your-information.
180
    Bobby Allyn, 4 Takeaways from the Senate child safety hearing with YouTube,
  Snapchat and TikTok, Nat’l Pub. Radio (Oct. 26, 2021),



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ideological spectrum have introduced bills that would ban many of the features Snapchat
uses, including badges and other awards recognizing a user’s level of engagement with
the platform.181 Despite these calls for oversight from Congress, Snap has failed to curtail
its use of streaks, badges, and other awards that recognize users’ level of engagement
with Snapchat.
       169.   Snap also knows or should know of Snapchat’s other negative effects on
youth because of published research findings. For instance, the Journal of the American
Medical Association has recognized that Snapchat’s effect on how young people view
themselves is so severe, that it named a new disorder, “Snapchat dysmorphia,” after the
platform.182 This disorder describes people, usually young women, seeking plastic
surgery to make themselves look like the way they do through Snapchat filters.183 The
rationale underlying this disorder is that beauty filters on social media, like Snapchat,
create a “sense of unattainable perfection” that is alienating and damaging to a person’s
self-esteem.184 One social psychologist summed the effect as “the pressure to present a
certain filtered image on social media can certainly play into [depression and anxiety] for
younger people who are just developing their identities.”185


  https://www.npr.org/2021/10/26/1049267501/snapchat-tiktok-youtube-congress-child-
  safety-hearing.
181
    See Abigal Clukey, Lawmaker Aims To Curb Social Media Addiction With New Bill,
  Nat’l Pub. Radio (Aug. 3, 2019),
  https://www.npr.org/2019/08/03/747086462/lawmaker-aims-to-curb-social-media-
  addiction-with-new-bill; Social Media Addiction Reduction Technology Act, S. 2314,
  116th Cong. (2019); Kids Internet Design and Safety Act, S. 2918, 117th Cong. (2021).
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    ‘Snapchat Dysmorphia’: When People Get Plastic Surgery To Look Like A Social
  Media Filter, WBUR (Aug 29, 2018),
  https://www.wbur.org/hereandnow/2018/08/29/snapchat-dysmorphia-plastic-surgery.
183
    Id.
184
    Nathan Smith & Allie Yang, What happens when lines blur between real and virtual
  beauty through filters, ABC News (May 1, 2021),
  https://abcnews.go.com/Technology/lines-blur-real-virtual-beauty-
  filters/story?id=77427989.
185
    Id.



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       170.   Despite knowing Snapchat harms its young users, Snap continues to update
and add features intentionally designed to maximize the amount of time users spend on
Snapchat. Snap continues its harmful conduct because its advertising revenue relies on
Snapchat’s users consuming large volumes of content on its platform.

       3.     TikTok Intentionally Marketed to and Designed Its Social Media
              Platform for Youth Users, Substantially Contributing to the Mental
              Health Crisis

              a.     TikTok’s Platform
       171.   TikTok is a social media platform that describes itself as “the leading
destination for short-form mobile video.”186 According to TikTok, it is primarily a
platform where users “create and watch short-form videos.”187
       172.   TikTok’s predecessor, Musical.ly, launched in 2014 as a place where
people could create and share 15-second videos of themselves lip-syncing or dancing to
their favorite music.188
       173.   In 2017, ByteDance launched an international version of a similar platform
that also enabled users to create and share short lip-syncing videos that it called
TikTok.189
       174.   That same year, ByteDance acquired Musical.ly to leverage its young user




186
    About: Our Mission, TikTok, https://www.tiktok.com/about (last visited Dec. 8,
  2022).
187
    Protecting Kids Online: Snapchat, TikTok, and YouTube: Hearing Before the
  Subcomm. On Consumer Protection, Product Safety, and Data Security, 117 Cong.
  (2021) (statement of Michael Beckerman, VP and Head of Public Policy, Americas,
  TikTok).
188
    Biz Carson, How a failed education startup turned into Musical.ly, the most popular
  app you’ve probably never heard of, Bus. Insider (May, 28, 2016),
  https://www.businessinsider.com/what-is-musically-2016-5.
189
    Paresh Dave, China’s ByteDance scrubs Musical.ly brand in favor of TikTok, Reuters
  (Aug. 1, 2018), https://www.reuters.com/article/us-bytedance-musically/chinas-
  bytedance-scrubs-musical-ly-brand-in-favor-of-tiktok-idUSKBN1KN0BW.



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base in the United States, of almost 60 million monthly active users. 190
       175.   Months later, the apps were merged under the TikTok brand.191
       176.   Since then, TikTok has expanded the length of time for videos from 15-
seconds to up to 10 minutes;192 created a fund that was expected to grow to over $1
billion within three years to incentivize users to create videos that even more people will
watch;193 and had users debut their own songs, share comedy skits,194 and “challenge”
others to perform an activity.195
       177.   The videos users create on TikTok are only one part of the equation.
       178.   “[O]ne of the defining features of the TikTok platform,” is its “For You”
feed.196 There, users are served with an unending stream of videos TikTok curates for
them based on complex, machine-learning algorithms intended to keep users on its
platform. TikTok itself describes the feed as “central to the TikTok experience and where



190
    Liza Lin & Rolfe Winkler, Social-Media App Musical.ly Is Acquired for as Much as
  $1 Billion; With 60 million monthly users, startup sells to Chinese maker of news app
  Toutiao, Wall St. J. (Nov. 10, 2017), https://www.wsj.com/articles/lip-syncing-app-
  musical-ly-is-acquired-for-as-much-as-1-billion-1510278123.
191
    Paresh Dave, China’s ByteDance scrubs Musical.ly brand in favor of TikTok, Reuters
  (Aug. 1, 2018), https://www.reuters.com/article/us-bytedance-musically/chinas-
  bytedance-scrubs-musical-ly-brand-in-favor-of-tiktok-idUSKBN1KN0BW.
192
    Andrew Hutchinson, TikTok Confirms that 10 Minute Video Uploads are Coming to
  All Users, SocialMediaToday (Feb. 28, 2022),
  https://www.socialmediatoday.com/news/tiktok-confirms-that-10-minute-video-
  uploads-are-coming-to-all-users/619535/.
193
    Vanessa Pappas, Introducing the $200M TikTok Creator Fund, TikTok (July 29,
  2021), https://newsroom.tiktok.com/en-us/introducing-the-200-million-tiktok-creator-
  fund.
194
    Joseph Steinberg, Meet Musical.ly, the Video Social Network Quickly Capturing the
  Tween and Teen Markets, Inc. (June 2, 2016), https://www.inc.com/joseph-
  steinberg/meet-musically-the-video-social-network-quickly-capturing-the-tween-and-
  teen-m.html.
195
    John Herrman, How TikTok is Rewriting the World, N.Y. Times (Mar. 10, 2019),
  https://www.nytimes.com/2019/03/10/style/what-is-tik-tok.html.
196
    How TikTok recommends videos #ForYou, TikTok (June 18, 2020),
  https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you.



                                     54
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most of our users spend their time.”197 The New York Times described it this way:

       It’s an algorithmic feed based on videos you’ve interacted with, or even just
       watched. It never runs out of material. It is not, unless you train it to be, full
       of people you know, or things you’ve explicitly told it you want to see. It’s
       full of things that you seem to have demonstrated you want to watch, no
       matter what you actually say you want to watch.198

       179.   The “For You” feed has quickly garnered TikTok hundreds of millions of
users. Since 2018, TikTok has grown from 271 million global users to more than 1 billion
global monthly users as of September 2021.199
              b.      TikTok Markets Its Platform to Youth
       180.   TikTok, like the other Defendants’ platforms, has built its business plan
around advertising revenue, which has boomed. In 2022, TikTok is projected to receive
$11 billion in advertising revenue, over half of which (i.e., $6 billion) is expected to
come from the United States.200
       181.   TikTok, since its inception as Musical.ly, has been designed and developed
with youth in mind.
       182.   Alex Zhu and Louis Yang, the other co-founder of Musical.ly, raised
$250,000 to build an app that experts could use to create short three- to five-minute
videos explaining a subject.201 The day they released the app, Zhu said they knew “‘[i]t
was doomed to be a failure,’” because “[i]t wasn’t entertaining, and it didn’t attract

197
    Id.
198
    John Herrman, How TikTok is Rewriting the World, N.Y. Times (Mar. 10, 2019),
  https://www.nytimes.com/2019/03/10/style/what-is-tik-tok.html.
199
    Jessica Bursztynsky, TikTok says 1 billion people use the app each month, CNBC
  (Sept. 27, 2021), https://www.cnbc.com/2021/09/27/tiktok-reaches-1-billion-monthly-
  users.html.
200
    Bhanvi Staija, TikTok’s ad revenue to surpass Twitter and Snapchat combined in
  2022, Reuters (Apr. 11, 2022), https://www.reuters.com/technology/tiktoks-ad-revenue-
  surpass-twitter-snapchat-combined-2022-report-2022-04-11/.
201
    Biz Carson, How a failed education startup turned into Musical.ly, the most popular
  app you’ve probably never heard of, Bus. Insider (May 28, 2016),
  https://www.businessinsider.com/what-is-musically-2016-5.



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teens.”202
       183.   According to Zhu, he stumbled upon the idea that would become known as
TikTok while observing teens on a train, half of whom were listening to music while the
other half took selfies or videos and shared the results with friends.203 “That’s when Zhu
realized he could combine music, videos, and a social network to attract the early-teen
demographic.”204
       184.   Zhu and Yang thereafter developed the short-form video app that is now
known as TikTok, which commentators have observed “encourages a youthful audience
in subtle and obvious ways.”205
       185.   Among the more subtle ways the app was marketed to youth, are its design
and content. For example, the Federal Trade Commission (“FTC”) alleged that the app
initially centered around a child-oriented activity (i.e., lip syncing); featured music by
celebrities that then appealed primarily to teens and tweens, such as Selena Gomez and
Ariana Grande; labelled folders with names meant to appeal to youth, such as “Disney”
and “school”; included songs in such folders related to Disney television shows and
movies, such as “Can You Feel the Love Tonight” from the movie “The Lion King” and
“You’ve Got a Friend in Me” from the movie “Toy Story” and songs covering school-
related subjects or school-themed television shows and movies.206
       186.   The target demographic was also reflected in the sign-up process. In 2016,
the birthdate for those signing up for the app defaulted to the year 2000 (i.e., 16 years



202
    Id.
203
    Id.
204
    Id.
205
    John Herrman, Who’s Too Young for an App? Musical.ly Tests the Limits, N.Y. Times
  (Sept. 16, 2016), https://www.nytimes.com/2016/09/17/business/media/a-social-
  network-frequented-by-children-tests-the-limits-of-online-regulation.html.
206
    Complaint for Civil Penalties, Permanent Injunction, and Other Equitable Relief
  (“Musical.ly Complaint”) at p. 8, ¶¶ 26–27, United States v. Musical.ly, 2:19-cv-
  01439-ODW-RAO (C.D. Cal. Feb. 27, 2019) Dkt. # 1.



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old).207
       187.   TikTok also cultivated a younger demographic in unmistakable, albeit
concealed, ways. In 2020, the Intercept reported on a document TikTok prepared for its
moderators. In the document, TikTok instructs its moderators that videos of “senior
people with too many wrinkles” are disqualified for the “For You” feed because that
would make “the video . . . much less attractive [and] not worth[] . . .
recommend[ing.]”208
       188.   In December 2016, Zhu confirmed the company had actual knowledge that
“a lot of the top users are under 13.”209
       189.   The FTC alleged that despite the company’s knowledge of these and a
“significant percentage” of other users who were under 13, the company failed to comply
with the COPPA.210
       190.   TikTok settled those claims in 2019 by agreeing to pay what was then the
largest ever civil penalty under COPPA and to several forms of injunctive relief.211
       191.   In an attempt to come into compliance with the consent decree and
COPPA, TikTok made available to users under 13 what it describes as a “limited,




207
    Melia Robinson, How to use Musical.ly, the app with 150 million users that teens are
  obsessed with, Bus. Insider (Dec. 7, 2016), https://www.businessinsider.com/how-to-
  use-musically-app-2016-12.
208
    Sam Biddle et al., Invisible Censorship: TikTok Told Moderators to Suppress Posts by
  “Ugly” People and the Poor to Attract New Users, Intercept (Mar. 15, 2020),
  https://theintercept.com/2020/03/16/tiktok-app-moderators-users-discrimination/.
209
    Jon Russell, Muscal.ly defends its handling of young users, as it races past 40M
  MAUs at 8:58–11:12, TechCrunch (Dec. 6, 2016),
  https://techcrunch.com/2016/12/06/musically-techcrunch-disrupt-london/.
210
    See generally Musical.ly Complaint, supra note 202.
211
    Lesley Fair, Largest FTC COPPA settlement requires Musical.ly to change its tune,
  FTC (Feb. 27, 2019), https://www.ftc.gov/business-guidance/blog/2019/02/largest-ftc-
  coppa-settlement-requires-musically-change-its-tune.



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separate app experience.”212 The child version of TikTok restricts users from posting
videos through the app. Children can still, however, record and watch videos on
TikTok.213 For that reason, experts fear the app is “designed to fuel [kids’] interest in the
grown-up version.”214
       192.   These subtle and obvious ways TikTok markets to and obtained a young
userbase are manifestations of Zhu’s views about the importance of user engagement to
growing TikTok. Zhu explained the target demographic to the New York Times:
“[T]eenage culture doesn’t exist” in China because “teens are super busy in school
studying for tests, so they don’t have the time and luxury to play social media apps.”215
By contrast, Zhu describes “[t]eenagers in the U.S. [as] a golden audience.”216
       193.   TikTok’s efforts to attract young users have been successful. See supra
Section IV.A. Over 66 percent of children ages 13–17 report having used the TikTok app.

              c.      TikTok Intentionally Maximizes the Time Users Spend on its
                      Platform

       194.   TikTok employs design elements and complex algorithms to simulate
variable reward patterns in a flow-inducing stream of short-form videos intended to
captivate its user’s attention well after they are satiated.
       195.   Like the other Defendants’ social media platforms, TikTok developed
features that exploit psychological phenomenon such as IVR and reciprocity to maximize
the time users spend on its platform.

212
    Dami Lee, TikTok stops young users from uploading videos after FTC settlement, Verge
  (Feb. 27, 2019), https://www.theverge.com/2019/2/27/18243510/tiktok-age-young-user-
  videos-ftc-settlement-13-childrens-privacy-law.
213
    Id.
214
     Leonard Sax, Is TikTok Dangerous for Teens?, Inst. Fam. Stud. (Mar. 29, 2022),
  https://ifstudies.org/blog/is-tiktok-dangerous-for-teens-.
215
    Paul Mozur, Chinese Tech Firms Forced to Choose Market: Home or Everywhere Else,
  N.Y. Times (Aug. 9, 2016), https://www.nytimes.com/2016/08/10/technology/china-
  homegrown-internet-companies-rest-of-the-world.html.
216
    Id.



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       196.   TikTok drives habitual use of its platform using design elements that
operate on principles of IVR. For example, TikTok designed its platform to allow users to
like and reshare videos. Those features serve as rewards for users who create content on
the platform. Receiving a like or reshare indicates that others approve of that user’s
content and satisfies their natural desire for acceptance.217 Studies have shown that
“likes” activate the reward region of the brain.218 The release of dopamine in response to
likes creates a positive feedback loop.219 Users will use TikTok—again and again—in
hope of another pleasurable experience.220
       197.   TikTok also uses reciprocity to manipulate users to use the platform.
TikTok invokes reciprocity through features like “Duet.” The Duet feature allows users
to post a video side-by-side with a video from another TikTok user. Users use Duet as a
way to react to the videos of TikTok content creators. The response is intended to
engender a reciprocal response from the creator of the original video.
       198.   TikTok, like Snapchat, offers video filters, lenses, and music, which are
intended to keep users on its platform. Also, like Snapchat, TikTok has gamified its
platform through “challenges.” These challenges are essentially campaigns in which
users compete to perform a specific task. By fostering competition, TikTok incentivizes
users to use its platform.
       199.   TikTok’s defining features, its “For You” feed, is a curated, never-ending
stream of short-form videos intended to keep users on its platform. In that way, TikTok
feeds users beyond the point they are satiated. The ability to scroll ad infinitum, coupled

217
    See, e.g., Lauren E. Sherman et al., The Power of the Like in Adolescence: Effects of
  Peer Influence on Neural and Behavioral Responses to Social Media, 27(7) Psych. Sci.
  1027–35 (July 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5387999/.
218
    Id.
219
    Rasan Burhan & Jalal Moradzadeh, Neurotransmitter Dopamine (DA) and its Role in
  the Development of Social Media Addiction, 11(7) J. Neurology & Neurophysiology 507
  (2020), https://www.iomcworld.org/open-access/neurotransmitter-dopamine-da-and-its-
  role-in-the-development-of-social-media-addiction.pdf.
220
    Id.



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with the variable reward pattern of TikTok induces a flow-like state for users that distorts
their sense of time.221 That flow is yet another way TikTok increases the time users spend
on its platform.
              d.     TikTok’s Algorithms are Manipulative
       200.   The first thing a user sees when they open TikTok is the “For You” feed,
even if they have never posted anything, followed anyone, or liked a video.222
       201.   The “For You” page presents users with a “stream of videos” TikTok
claims are “curated to [each user’s] interests.”223
       202.   According to TikTok, it populates each user’s “For You” feed by “ranking
videos based on a combination of factors,” that include, among others, any interests
expressed when a user registers a new account, videos a user likes, accounts they follow,
hashtags, captions, sounds in a video they watch, and certain device settings, such as their
language preferences and where they are located.224
       203.   Critically, some factors weigh heavier than others. To illustrate, TikTok
explains that an indicator of interest, such as “whether a user finishes watching a longer
video from beginning to end, would receive greater weight than a weak indicator, such as
whether the video’s viewer and creator are both in the same country.”225
       204.   TikTok claims it ranks videos in this way because the length of time a user
spends watching a video is a “strong indicator of interest[.]”226

221
    Christian Montag et al., Addictive Features of Social Media/Messenger Platforms and
  Freemium Games against the Background of Psychological and Economic Theories,
  16(14) Int’l J. Env’t Rsch. & Pub. Health 2612 (July 23, 2019),
  https://doi.org/10.3390/ijerph16142612.
222
    Brian Feldman, TikTok is Not the Internet’s Eden, N.Y. Mag. (Mar. 16, 2020),
  https://nymag.com/intelligencer/2020/03/tiktok-didnt-want-you-to-see-ugly-or-poor-
  people-on-its-app.html.
223
    How TikTok recommends videos #ForYou, TikTok (June 18, 2020),
  https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you.
224
    Id.
225
    Id.
226
    Id.



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       205.    But Zhu offered a different explanation, he repeatedly told interviewers that
he was “focused primarily on increasing the engagement of existing users.”227 “Even if
you have tens of millions of users,” Zhu explained, “you have to keep them always
engaged.”228
       206.    The decisions TikTok made in programming its algorithms are intended to
do just that, as TikTok candidly explained in an internal document titled, “TikTok Algo
101.” The document, which TikTok has confirmed is authentic, “explains frankly that in
the pursuit of the company’s ‘ultimate goal’ of adding daily active users, it has chosen to
optimize for two closely related metrics in the stream of videos it serves: ‘retention’ —
that is, whether a user comes back — and ‘time spent.’”229
       207.    “This system means that watch time is key.”230 Guillaume Chaslot, the
founder of Algo Transparency, who reviewed the document at the request of the New
York Times, explained that “rather than giving [people] what they really want,” TikTok’s
“algorithm tries to get people addicted[.]”231
       208.    Put another way, the algorithm, coupled with the design elements,
condition users through reward-based learning processes to facilitate the formation of
habit loops that encourage excessive use.
       209.    The end result is that TikTok uses “a machine-learning system that
analyzes each video and tracks user behavior so that it can serve up a continually refined,


227
    Joseph Steinberg, Meet Musical.ly, the Video Social Network Quickly Capturing the
  Tween and Teen Markets, Inc. (June 2, 2016), https://www.inc.com/joseph-
  steinberg/meet-musically-the-video-social-network-quickly-capturing-the-tween-and-
  teen-m.html.
228
    Biz Carson, How a failed education startup turned into Musical.ly, the most popular
  app you’ve probably never heard of, Bus. Insider (May 28, 2016),
  https://www.businessinsider.com/what-is-musically-2016-5 (emphasis added).
229
    Ben Smith, How TikTok Reads Your Mind, N.Y. Times (Dec. 5, 2021),
  https://www.nytimes.com/2021/12/05/business/media/tiktok-algorithm.html.
230
    Id.
231
    Id.



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never-ending stream of TikToks optimized to hold [user’s] attention.”232

              e.     TikTok’s Conduct in Designing and Operating its Platform Has
                     Harmed Youth Mental Health

       210.   TikTok’s decision to program its algorithm to prioritize user engagement
causes harmful and exploitive content to be amplified to the young market it has
cultivated.
       211.   The Integrity Institute, a nonprofit of engineers, product managers, data
scientists, and others, has demonstrated how prioritizing user engagement amplifies
misinformation on TikTok (and other platforms).233 That pattern, the Integrity Institute
notes, is “true for a broad range of harms,” such as hate speech and self-harm content, in
addition to misinformation.234
       212.   The Integrity Institute’s analysis builds on a premise Mark Zuckerberg
described as the “Natural Engagement Pattern.”235




232
     Jia Tolentino, How TikTok Holds Our Attention, New Yorker (Sept. 30, 2019),
  https://www.newyorker.com/magazine/2019/09/30/how-tiktok-holds-our-attention.
233
    Misinformation Amplification Analysis and Tracking Dashboard, Integrity Inst. (Oct.
  13, 2022), https://integrityinstitute.org/our-ideas/hear-from-our-fellows/misinformation-
  amplification-tracking-dashboard; see also Steven Lee Myers, How Social Media
  Amplifies Misinformation More Than Information, N.Y. Times (Oct. 13, 2022),
  https://www.nytimes.com/2022/10/13/technology/misinformation-integrity-institute-
  report.html.
234
    Misinformation Amplification Analysis and Tracking Dashboard, Integrity Inst. (Oct.
  13, 2022), https://integrityinstitute.org/our-ideas/hear-from-our-fellows/misinformation-
  amplification-tracking-dashboard.
235
    Mark Zuckerberg, A Blueprint for Content Governance and Enforcement, Facebook
  (May 5, 2021), https://www.facebook.com/notes/751449002072082/.



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       213.    This chart shows that as content gets closer and closer to becoming harmful, on

average, it gets more engagement.




       214.    According to Zuckerberg “no matter where we draw the lines for what is allowed,

as a piece of content gets close to that line, people will engage with it more on average[.]”236

       215.    This has important implications for platform design, as the Integrity Institute

explains:

       when platforms use machine learning models to predict user engagement on
       content, we should expect the predicted engagement to follow the actual
       engagement. When those predictions are used to rank and recommend
       content, specifically when a higher predicted engagement score means the
       content is more likely to be recommended or placed at the top of feeds, then
       we expect that misinformation will be preferentially distributed and
       amplified on the platform.237

       216.    Put differently, if you use past engagement to predict future engagement, as
TikTok does, you are most likely to populate users “For You” feed with harmful content.

236
  Id.
237
   Misinformation Amplification Analysis and Tracking Dashboard, Integrity Inst. (Oct.
 13, 2022), https://integrityinstitute.org/our-ideas/hear-from-our-fellows/misinformation-
 amplification-tracking-dashboard.



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          217.   The Integrity Institute tested its theory by analyzing a category of harmful
content: misinformation. Specifically, the Integrity Institute compared the amount of
engagement (e.g., number of views) a post containing misinformation received as
compared to prior posts from the same content creator.238
          218.   For example, a TikTok user’s historical posts received on average 75,000
views. When that same user posted a false statement (as determined by the International
Fact Checking Network), the post received 775,000 views. In this case, TikTok amplified
the misinformation 10 times more than this user’s typical content.239




          219.   After analyzing many other posts from other users, the Integrity Institute
found that TikTok on average amplified misinformation 29 times more than other
content.240
          220.   A separate investigation by NewsGuard found TikTok’s search algorithm
similarly amplified misinformation. TikTok’s search engine, like its “For You” feed, is a


238
    Id.
239
    Id.
240
    Id.



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favorite among youth, with 40 percent preferring it (and Instagram) over Google. 241
Unfortunately, NewsGuard found that 1 in 5 of the top 20 TikTok search results on
prominent news topics, such as school shootings and COVID vaccines, contain
misinformation.242
       221.   Misinformation is just one type of harmful content TikTok amplifies to its
young users. Investigations by the Wall Street Journal found TikTok inundated young
users with videos about depression, self-harm, drugs, and extreme diets, to name a few.
       222.   In one investigation, the Wall Street Journal found TikTok’s algorithm
quickly pushed users down rabbit holes where they were more likely to encounter
harmful content. The Wall Street Journal investigated how TikTok’s algorithm chose
what content to promote to users by having 100 bots scroll through the “For You” feed.243
Each bot was programmed with interests, such as extreme sports, forestry, dance,
astrology, and animals.244 Those interests were not disclosed in the process of registering
their accounts.245 Rather, the bots revealed their interests through their behaviors,
specifically the time they spent watching the videos TikTok recommended to them.
Consistent with TikTok’s internal “Algo 101” document, the Wall Street Journal found
that time spent watching videos to be “the most impactful data on [what] TikTok serves
you.”246
       223.   Over the course of 26 minutes, one bot watched 224 videos, lingering over



241
    Wanda Pogue, Move Over Google. TikTok is the Go-To Search Engine for Gen Z,
  Adweek (Aug. 4, 2022), https://www.adweek.com/social-marketing/move-over-google-
  tiktok-is-the-go-to-search-engine-for-gen-z/.
242
    Misinformation Monitor, NewsGuard (Sept. 2022),
  https://www.newsguardtech.com/misinformation-monitor/september-2022/.
243
    Inside TikTok’s Algorithm: A WSJ Video Investigation, Wall St. J. (July 21, 2021),
  https://www.wsj.com/articles/tiktok-algorithm-video-investigation-11626877477.
244
    Id.
245
    Id.
246
    Id.



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videos with hashtags for “depression” or “sad.”247 From then on, 93 percent of the videos
TikTok showed this account were about depression or sadness.248
       224.     That is not an outlier. Guillaume Chaslot, a former engineer for Google
who worked on the algorithm for YouTube and the founder of Algo Transparency,
explained that 90–95 percent of the content users see on TikTok is based on its
algorithm.249
       225.     “Even bots with general mainstream interests got pushed to the margin as
recommendations got more personalized and narrow.”250 Deep in these rabbit holes, the
Wall Street Journal found “users are more likely to encounter potential harmful
content.”251 For example, one video the Wall Street Journal encountered encouraged
suicide, reading “Just go. Leave. Stop trying. Stop pretending. You know it and so do
they. Do Everyone a favor and leave.”252
       226.     Chaslot explained why TikTok feeds users this content:

       [T]he algorithm is able to find the piece of content that you’re vulnerable to.
       That will make you click, that will make you watch, but it doesn’t mean you
       really like it. And that it’s the content that you enjoy the most. It’s just the
       content that’s most likely to make you stay on the platform.253

       227.     A follow-up investigation by the Wall Street Journal using bots found “that
through its powerful algorithms, TikTok can quickly drive minors—among the biggest
users of the app—into endless spools of content about sex and drugs.”254
       228.     The bots in this investigation were registered as users aged 13 to 15 and, as

247
    Id.
248
    Id.
249
    Id.
250
    Id.
251
    Id.
252
    Id.
253
    Id.
254
    Rob Barry et al., How TikTok Serves up Sex and Drug Videos to Minors, Wall St. J.
  (Sept. 8, 2021), https://www.wsj.com/articles/tiktok-algorithm-sex-drugs-minors-
  11631052944?st=e92pu5734lvc7ta&reflink=desktopwebshare_permalink.



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before, programmed to demonstrate interest by how long they watched the videos
TikTok’s algorithms served them.255 Videos that did not match their interests, the bots
scrolled through without pausing.256 The bots lingered on videos that matched any of
their programmed interests.257
          229.   Every second the bot hesitated or re-watched a video again proved key to
what TikTok recommended to the accounts, which the Wall Street Journal found was
used to “drive users of any age deep into rabbit holes of content[.]”258
          230.   For example, one bot was programmed to pause on videos referencing
drugs, among other topics. The first day on the platform, the “account lingered on a video
of a young woman walking through the woods with a caption” referencing “stoner
girls.”259 The following day the bot viewed a video of a “marijuana-themed cake.”260 The
“majority of the next thousand videos” TikTok directed at the teenage account “tout[ed]
drugs and drug use, including marijuana, psychedelics and prescription medication.”261
          231.   TikTok similarly zeroed in on and narrowed the videos it showed accounts
whether the bot was programmed to express interest in drugs, sexual imagery, or a
multitude of interests. In the first couple of days, TikTok showed the bots a “high
proportion of popular videos.”262 “But after three days, TikTok began serving a high
number of obscure videos.”263
          232.   For example, a bot registered as a 13-year-old was shown a series of
popular videos upon signing up.264 The bot, which was programmed to demonstrate


255
    Id.
256
    Id.
257
    Id.
258
    Id.
259
    Id.
260
    Id.
261
    Id.
262
    Id.
263
    Id.
264
    Id.



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interest in sexual text and imagery, also watched sexualized videos. Later, “[i]t
experienced one of the most extreme rabbit holes among the Wall Street Journal’s
accounts. Many videos described how to tie knots for sex, recover from violent sex acts
and discussed fantasies about rape.” 265 At one point, “more than 90 percent of [one]
account’s video feed was about bondage and sex.”266
          233.   At least 2,800 of the sexualized videos that were shown to the Wall Street
Journal’s bots were labeled as being for adults only.267 Yet, TikTok directed these videos
to the minor accounts because, as TikTok told the Wall Street Journal, it does not
“differentiate between videos it serves to adults and minors.”268
          234.   TikTok also directed a concentrated stream of videos at accounts
programmed to express interest in a variety of topics. One such account was programmed
to linger over hundreds of Japanese film and television cartoons. “In one streak of 150
videos, all but four” of the videos TikTok directed at the account, “featured Japanese
animation—many with sexual themes.”269
          235.   The relentless stream of content intended to keep users engaged “can be
especially problematic for young people,” because they may lack the capability to stop
watching, says David Anderson, a clinical psychologist at the nonprofit mental health
care provider, The Child Mind Institute.270
          236.   In a similar investigation, the Wall Street Journal found TikTok “flood[ed]
teen users with videos of rapid-weight-loss competitions and ways to purge food that
health professionals say contribute to a wave of eating-disorder cases spreading across




265
    Id.
266
    Id.
267
    Id.
268
    Id.
269
    Id.
270
    Id.



                                       68
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the country.”271
       237.   In this investigation, the Wall Street Journal analyzed the tens of thousands
of videos TikTok recommended to a dozen bots registered as 13-year-olds. As before, the
bots were given interests. Bots scrolled quickly through videos that did not match their
interests and lingered on videos that did.272 The accounts registered as 13-year-olds were
programmed at different times to display interests in weight loss, gambling, and
alcohol.273
       238.   “TikTok’s algorithm quickly g[a]ve[] users the content they’ll watch, for as
long as they’ll watch it.”274 For example, TikTok streamed gambling videos to a bot
registered to a 13-year-old after it first searched for and favorited several such videos.275




271
    Tawnell D. Hobbs et al., The Corpse Bride Diet: How TikTok Inundates Teens with
  Eating-Disorder Videos, Wall St. J. (Dec. 17, 2021), https://www.wsj.com/articles/how-
  tiktok-inundates-teens-with-eating-disorder-videos-11639754848 (some of the accounts
  performed searches or sent other, undisclosed signals indicating their preferences).
272
    Id.
273
    Id.
274
    Id.
275
    Id.



                                     69
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When the bot began demonstrating interest in weight loss videos, the algorithm adapted
quickly, as this chart demonstrates.276
          239.   After the change in programming, weight-loss videos accounted for well
over 40 percent of the content TikTok’s algorithm recommended to the user.277
          240.   The other accounts were also flooded with weight-loss videos. Over the
course of about 45 days, TikTok inundated the accounts with more than 32,000 such
videos, “many promoting fasting, offering tips for quickly burning belly fat and pushing
weight-loss detox programs and participation in extreme weight-loss competitions.”278
Some encouraged purging, eating less than 300 calories a day, consuming nothing but
water some days, and other hazardous diets.279
          241.   According to Alyssa Moukheiber, a treatment center dietitian, TikTok’s
powerful algorithm and the harmful streams of content it directs at young users can tip
them into unhealthy behaviors or trigger a relapse.280
          242.   Unfortunately, it has for the several teenage girls interviewed by the Wall
Street Journal, who reported developing eating disorders or relapsing after being
influenced by the extreme diet videos TikTok promoted to them.281
          243.   They are not alone. Katie Bell, a co-founder of the Healthy Teen Project,
“said the majority of her 17 teenage residential patients told her TikTok played a role in
their eating disorders.”282
          244.   Others, like Stephanie Zerwas, an associate professor of psychiatry at the
University of North Carolina at Chapel Hill, could not recount how many of her young
patients told her that “I’ve started falling down this rabbit hole, or I got really into this or

276
    Id.
277
    Id.
278
    Id.
279
    Id.
280
    Id.
281
    Id.
282
    Id.



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that influencer on TikTok, and then it started to feel like eating-disorder behavior was
normal, that everybody was doing that.”283
          245.   This trend extends nationwide. The National Association of Anorexia
Nervosa and Associated Disorders has fielded 50 percent more calls to its hotline since
the pandemic began, most of whom it says are from young people or parents on their
behalf.284
          246.   Despite the ample evidence that TikTok’s design and operation of its
platform harms the tens of millions of youths who use it, TikTok continues to manipulate
them into returning to the platform again and again so that it may serve them ads in
between the exploitive content it amplifies.

          4.     YouTube Intentionally Marketed to and Designed Its Social Media
                 Platform for Youth Users, Substantially Contributing to the Mental
                 Health Crisis

                 a.    The YouTube Platform
          247.   YouTube is a platform where users can post, share, view, and comment on
videos related to a vast range of topics. The platform became available publicly in
December 2005 and was acquired by Google in 2006.
          248.   YouTube reports that today it has over 2 billion monthly logged-in users.285
Even more people use YouTube each month because consumers do not have to register
an account to view a video on YouTube. As a result, anyone can view most content on
YouTube—regardless of age.
          249.   Users, whether logged in or not, watch billions of hours of videos every
day.286
          250.   Users with accounts can post their own videos, comment on others, and

283
    Id.
284
    Id.
285
    YouTube for Press, YouTube, https://blog.youtube/press/ (last visited Dec. 8, 2022).
286
    Id.



                                       71
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since 2010 express their approval of videos through “likes.”287
       251.   Beginning in 2008 and through today, YouTube has recommended videos
to users.288 Early on, the videos YouTube recommended to users were the most popular
videos across the platform.289 YouTube admits “[n]ot a lot of people watched those
videos[,]” at least not based on its recommendation.290
       252.   Since then, YouTube has designed and refined its recommendation system
using machine learning algorithms that today take into account a user’s “likes,” time
spent watching a video, and other behaviors to tailor its recommendations to each user.291
       253.   YouTube automatically plays those recommendations for a user after they
finish watching a video. This feature, known as “autoplay,” was implemented in 2015.
YouTube turns the feature on by default, which means videos automatically and
continuously play for users unless they turn it off.292
       254.   YouTube purports to disable by default its autoplay feature for users aged
13–17.293 But, as mentioned above, YouTube does not require users to log in or even
have an account to watch videos. For them or anyone who does not self-report an age
between 13 and 17, YouTube defaults to automatically playing the videos its algorithm
recommends to the user.
              b.     YouTube Markets Its Platform to Youth
       255.   The primary way YouTube makes money is through advertising and made

287
    Josh Lowensohn, YouTube’s big redesign goes live to everyone, CNET (Mar. 31,
  2010), https://www.cnet.com/culture/youtubes-big-redesign-goes-live-to-everyone/.
288
    Cristos Goodrow, On YouTube’s recommendation system, YouTube (Sept. 15, 2021),
  https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
289
    Id.
290
    Id.
291
    Id.
292
    Autoplay videos, YouTube Help,
  https://support.google.com/youtube/answer/6327615?hl=en#:~:text=For%20users%20a
  ged%2013%2D17,turned%20off%20Autoplay%20for%20you (last visited Dec. 8,
  2022).
293
    Id.



                                     72
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$19 billion in ad revenue in 2021 alone.294
       256.   “In 2012, YouTube concluded that the more people watched, the more ads
it could run[.]” 295 “So YouTube . . . set a company-wide objective to reach one billion
hours of viewing a day[.]”296
       257.   “[T]he best way to keep eyes on the site,” YouTube realized, was
“recommending videos, alongside a clip or after one was finished.”297 That is what led to
the development of its recommendation algorithm and autoplay feature described above.
See supra Section IV.D.4.a.
       258.   YouTube has long known youth use its platforms in greater proportion than
older demographics.
       259.   Yet, YouTube has not implemented even rudimentary protocols to verify
the age of users. Anyone can watch a video on YouTube without registering an account
or reporting their age.
       260.   Instead, YouTube leveraged its popularity among youth to increase its
revenue from advertisements by marketing its platform to popular brands of children’s
products. For example, Google pitched Mattel, the maker of Barbie and other popular
kids’ toys, by telling its executives that “YouTube is today’s leader in reaching children
age 6–11 against top TV channels.”298 When presenting to Hasbro, the maker of Play-
Doh, My Little Pony, and other kids’ toys, Google touted that “YouTube was

294
    Alphabet Inc., Annual Report, Form 10-k at 60 (2021),
  https://www.sec.gov/ix?doc=/Archives/edgar/data/1652044/000165204422000019/goog
  -20211231.htm.
295
    Mark Bergen, YouTube Executive Ignores Warnings, Letting Toxic Videos Run
  Rampant, Bloomberg (Apr. 2, 2019), https://www.bloomberg.com/news/features/2019-
  04-02/youtube-executives-ignored-warnings-letting-toxic-videos-run-
  rampant?leadSource=uverify%20wall.
296
    Id.
297
    Id.
298
    Complaint for Permanent Injunction, Civil Penalties, and Other Equitable Relief,
  Exhibit A, FTC v. Google LLC et al., No. 1-19-cv-02642-BAH (D.D.C. Sept. 4, 2019),
  Dkt. # 1-1.



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unanimously voted as the favorite website for kids 2-12,” and that “93% of tweens visit
YouTube to watch videos.”299 In a different presentation to Hasbro, YouTube was
referred to as “[t]he new ‘Saturday Morning Cartoons,’” and claimed that YouTube was
the “#1 website regularly visited by kids” and “the #1 source where children discover
new toys + games.”300
       261.      In addition to turning a blind eye towards underage users of its platform,
YouTube developed and marketed a version of YouTube specifically for children under
the age of 13.
       262.      YouTube’s efforts to attract young users have been successful. See supra
Section IV.A. A vast majority, 95 percent, of children ages 13–17 have used YouTube.301

                 c.     YouTube Intentionally Maximizes the Time Users Spend on its
                        Platform

       263.      Google designed YouTube to maximize user engagement, predominantly
through the amount of time users spend watching videos. To that end, Google employs
design elements and complex algorithms to create a never-ending stream of videos
intended to grip user’s attention.
       264.      Like the other Defendants’ social media platforms, Google developed
features that exploit psychological phenomenon such as IVR to maximize the time users
spend on YouTube.
       265.      YouTube uses design elements that operate on principles of IVR to drive
both YouTube content creators and YouTube viewers into habitual, excessive use.
Google designed YouTube to allow users to like, comment, and share videos and to
subscribe to content creator’s channels. These features serve as rewards for users who
create and upload videos to YouTube. As described above, receiving a like indicates


299
    Id. Exhibit B.
300
    Id. Exhibit C.
301
    Id.



                                       74
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others’ approval and activates the reward region of the brain.302 The use of likes,
therefore, encourages users to use YouTube over and over, seeking future pleasurable
experiences.
       266.    YouTube also uses IVR to encourage users to view others content. One of
the ways Google employs IVR into YouTube’s design is through subscriber push
notifications and emails, which are designed to prompt users to watch YouTube content
and encourages excessive use of the platform. When a user “subscribes” to another user’s
channel, they receive notifications every time that user uploads new content, prompting
them to open YouTube and watch the video.303
       267.    One of YouTube’s defining features is its panel of recommended videos.
YouTube recommends videos to users on both the YouTube home page and on every
individual video page in an “Up Next” panel.304 This list automatically populates next to
the video a user is currently watching. This recommended video list is a never-ending
feed of videos intended to keep users on the app watching videos without having to
affirmatively click or search for other videos. This constant video stream, comprised of
videos recommended by YouTube’s algorithms, is the primary way Google increases the
time users spend on YouTube.
               d.    YouTube’s Algorithms are Manipulative
       268.    Google uses algorithms throughout YouTube to recommend videos to
users. These algorithms select videos that populate the YouTube homepage, rank results
in user searches, and suggest videos for viewers to watch next. These algorithms are

302
    See, e.g., Lauren E. Sherman et al., The Power of the Like in Adolescence: Effects of
  Peer Influence on Neural and Behavioral Responses to Social Media, 27(7) Psych. Sci.
  1027–35 (July 2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5387999/.
303
    Manage YouTube Notifications, YouTube,
  https://support.google.com/youtube/answer/3382248?hl=en&co=GENIE.Platform%3D
  Desktop (last visited Dec. 8, 2022).
304
    Recommended Videos, YouTube,
  https://www.youtube.com/howyoutubeworks/product-features/recommendations/ (last
  visited Dec. 8, 2022).



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manipulative by design and increase the amount of time users spend on YouTube.
       269.   Google began building the YouTube recommendation system in 2008.305
When Google initially developed its recommendation algorithms, the end goal was to
maximize the amount of time users spend watching YouTube videos. A YouTube
spokesperson admitted as much, saying YouTube’s recommendation system was initially
set up to “optimize” the amount of time users watch videos.306
       270.   Former YouTube engineer Guillame Chaslot has also stated that when he
worked for YouTube designing its recommendation algorithm, the priority was to keep
viewers on the site for as long as possible to maximize “watch time.”307 Chaslot further
stated that “[i]increasing users’ watch time is good for YouTube’s business model”
because the more people watch videos, the more ads they see and YouTube’s advertising
revenue increases.308
       271.   Early on, one of the primary metrics behind YouTube’s recommendation
algorithm was clicks. As YouTube describes, “[c]licking on a video provides a strong
indication that you will also find it satisfying.”309 But as YouTube learned, clicking on a
video does not mean a user actually watched it. Thus, in 2012, YouTube also started
tracking watch time—the amount of time a user spends watching a video.310 YouTube

305
    Cristos Goodrow, On YouTube’s recommendation system, YouTube (Sept. 15, 2021),
  https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
306
    Ben Popken, As algorithms take over, YouTube’s recommendations highlight a human
  problem, NBC (Apr. 19, 2018), https://www.nbcnews.com/tech/social-
  media/algorithms-take-over-youtube-s-recommendations-highlight-human-problem-
  n867596.
307
    William Turton, How YouTube’s algorithm prioritizes conspiracy theories, Vice (Mar.
  5, 2018), https://www.vice.com/en/article/d3w9ja/how-youtubes-algorithm-prioritizes-
  conspiracy-theories.
308
    Jesselyn Cook & Sebastian Murdock, YouTube is a Pedophile’s Paradise, Huffington
  Post (Mar. 20, 2020), https://www.huffpost.com/entry/youtube-pedophile-
  paradise_n_5e5d79d1c5b6732f50e6b4db.
309
    Cristos Goodrow, On YouTube’s Recommendation System, YouTube (Sept. 15, 2021),
  https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
310
    Id.



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made this switch to keep people watching for as long as possible.311 In YouTube’s own
words, this switch was successful. “These changes have so far proved very positive --
primarily less clicking, more watching. We saw the amount of time viewers spend
watching videos across the site increase immediately[.]”312And in 2016, YouTube started
measuring “valued watchtime” via user surveys to ensure that viewers are satisfied with
their time spent watching videos on YouTube.313 All of these changes to YouTube’s
algorithms were made to ensure that users spend more time watching videos and ads.
       272.   YouTube’s current recommendation algorithm is based on deep-learning
neural networks that retune its recommendations based on the data fed into it.314 While
this algorithm is incredibly complex, its process can be broken down into two general
steps. First, the algorithm compiles a shortlist of several hundred videos by finding
videos that match the topic and other features of the video a user is currently watching.315
Then the algorithm ranks the list according to the user’s preferences, which the algorithm
learns by tracking a user’s clicks, likes, and other interactions. 316 In short, the algorithms

311
    Dave Davies, How YouTube became one of the planet’s most influential media
  businesses, NPR (Sept. 8, 2022), https://www.npr.org/2022/09/08/1121703368/how-
  youtube-became-one-of-the-planets-most-influential-media-businesses.
312
    Eric Meyerson, YouTube Now: Why We Focus on Watch Time, YouTube (Aug. 10,
  2012), https://blog.youtube/news-and-events/youtube-now-why-we-focus-on-watch-
  time/.
313
    Cristos Goodrow, On YouTube’s recommendation system, YouTube (Sept. 15, 2021),
  https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
314
    Alexis C. Madrigal, How YouTube’s Algorithm Really Works, Atl. (Nov. 8, 2018),
  https://www.theatlantic.com/technology/archive/2018/11/how-youtubes-algorithm-
  really-works/575212/; Paul Covington et al., Deep Neural Networks for YouTube
  Recommendations, Google (2016), https://storage.googleapis.com/pub-tools-public-
  publication-data/pdf/45530.pdf.
315
    Karen Hao, YouTube is experimenting with ways to make its algorithm even more
  addictive, MIT Tech. Rev. (Sept. 27, 2019),
  https://www.technologyreview.com/2019/09/27/132829/youtube-algorithm-gets-more-
  addictive/; Paul Covington et al., Deep Neural Networks for YouTube
  Recommendations, Google (2016), https://storage.googleapis.com/pub-tools-public-
  publication-data/pdf/45530.pdf.
316
    Id.



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track and measure a user’s previous viewing habits and then finds and recommends other
videos the algorithm thinks will hold the consumer’s attention.
       273.   YouTube’s recommendation system “is constantly evolving, learning every
day from over 80 billion pieces of information.”317 Some of the information the
recommendation algorithm relies on to deliver recommended videos to users includes
users’ watch and search history, channel subscriptions, clicks, watch time, survey
responses, shares, likes, dislikes, users’ location (country) and the time of day.318
       274.   The recommendation algorithm can determine what “signals” or factors are
more important to individual users.319 For example, if a user shares every video they
watch, including videos the user gives a low rating, the algorithm learns not to heavily
factor the user’s shares when recommending content.320 Thus, the recommendation
algorithm “develops dynamically” to individual user’s viewing habits and makes highly
specific recommendations to keep individual users watching videos.321
       275.   In addition to the algorithm’s self-learning, Google engineers consistently
update YouTube’s recommendation and ranking algorithms, making several updates
every month, according to YouTube Chief Product Officer Neal Mohan.322 The end goal
is to increase the amount of time users spend watching content on YouTube.
       276.   Because Google has designed and refined its algorithms to be manipulative,


317
    Cristos Goodrow, On YouTube’s Recommendation System, YouTube (Sept. 15, 2021),
  https://blog.youtube/inside-youtube/on-youtubes-recommendation-system/.
318
    Recommended Videos, YouTube,
  https://www.youtube.com/howyoutubeworks/product-
  features/recommendations/#signals-used-to-recommend-content (last visited Dec. 8,
  2022).
319
    Id.
320
    Id.
321
    Id.
322
    Nilay Patel, YouTube Chief Product Officer Neal Mohan on The Algorithm,
  Monetization, and the Future for Creators, Verge (Aug. 3, 2021),
  https://www.theverge.com/22606296/youtube-shorts-fund-neal-mohan-decoder-
  interview.



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these algorithms are incredibly successful at getting users to view content based on the
algorithm’s recommendation. Mohan stated in 2018 that YouTube’s AI-driven
recommendations are responsible for 70 percent of the time users spend on YouTube.323
In other words, 70 percent of all YouTube content that users watch was recommended to
users by YouTube’s algorithms as opposed to users purposely searching for and
identifying the content they watch.
       277.   Mohan also stated that recommendations keep mobile device users
watching YouTube for more than 60 minutes at a time on average.324
       278.   Given that people watch more than one billion hours of YouTube videos
daily,325 YouTube’s recommendation algorithms are responsible for hundreds of millions
of hours that users spend watching videos on YouTube.

              e.     YouTube’s Conduct in Designing and Operating its Platform
                     Has Harmed Youth Mental Health

       279.   By designing YouTube’s algorithms to prioritize and maximize the amount
of time users spend watching videos, Google has harmed youth mental health. In
particular, YouTube has harmed youth mental health by recommending content to youth
through its algorithms.
       280.   YouTube’s algorithms push its young users down rabbit holes where they
are likely to encounter content that is violent, sexual, or encourages self-harm, among
other types of harmful content.
       281.   Research by the Tech Transparency Project (“TTP”) shows that YouTube
Kids fed children content that involved drug culture, guns, and beauty and diet tips that


323
    Joan E. Solsman, YouTube’s AI is the puppet master over most of what you watch,
  CNET (Jan. 20, 2018), https://www.cnet.com/tech/services-and-software/youtube-ces-
  2018-neal-mohan/.
324
    Id.
325
     Shira Ovide, The YouTube Rabbit Hole is Nuanced, N.Y. Times (Apr. 21, 2022),
  https://www.nytimes.com/2022/04/21/technology/youtube-rabbit-hole.html.



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could lead to harmful body image issues.326 Among the videos TTP found were step-by-
step instructions on how to conceal a gun, guides on how to bleach one’s face at home,
and workout videos emphasizing the importance of burning calories and telling kids to
“[w]iggle your jiggle.”327 This research shows that YouTube Kids not only lets
inappropriate content slip through its algorithmic filters, but actively directed the content
to kids through its recommendation engine.
       282.   Similar examples abound. Amanda Kloer, a campaign director with the
child safety group ParentsTogether, spent an hour on her child’s YouTube Kids profile
and found videos “encouraging kids how to make their shirts sexier, a video in which a
little boy pranks a girl over her weight, and a video in which an animated dog pulls
objects out of an unconscious animated hippo’s butt.”328 Another parent recounted that
YouTube Kids’ autoplay function led her 6-year-old daughter to an animated video that
encouraged suicide.329
       283.   Other youth are fed content by YouTube’s algorithms that encourages self-
harm. As reported by PBS Newshour, a middle-schooler named Olivia compulsively
watched YouTube videos every day after she came home from school.330 Over time she
became depressed and started searching for videos on how to commit suicide. Similar

326
    Alex Hern, YouTube Kids shows videos promoting drug culture and firearms to
  toddlers, Guardian (May 5, 2022),
  https://www.theguardian.com/technology/2022/may/05/youtube-kids-shows-videos-
  promoting-drug-culture-firearms-toddlers.
327
    Guns, Drugs, and Skin Bleaching: YouTube Kids Poses Risks to Children, Tech
  Transparency Project (May 5, 2022),
  https://www.techtransparencyproject.org/articles/guns-drugs-and-skin-bleaching-
  youtube-kids-still-poses-risks-children.
328
    Rebecca Heilweil, YouTube’s kids app has a rabbit hole problem, Vox (May 12,
  2021), https://www.vox.com/recode/22412232/youtube-kids-autoplay.
329
    Id.
330
    Lesley McClurg, After compulsively watching YouTube, teenage girl lands in rehab
  for ‘digital addiction’, PBS (May 16, 2017),
  https://www.pbs.org/newshour/health/compulsively-watching-youtube-teenage-girl-
  lands-rehab-digital-addiction.



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videos then gave her the idea of overdosing. Weeks later she was in the hospital after
“downing a bottle of Tylenol.”331 Ultimately, she was admitted into rehab for digital
addiction because of her compulsive YouTube watching.332
       284.   According to the Pew Research Center, 46 percent of parents say their child
has encountered inappropriate videos on YouTube.333 And children are not encountering
these videos on their own volition. Rather, they are being fed harmful and inappropriate
videos through YouTube’s algorithms. Again, YouTube’s AI-driven recommendations
are responsible for 70 percent of the time users spend on YouTube.334
       285.   Other reports have also found that YouTube’s recommendation algorithm
suggests a wide array of harmful content, including videos that feature misinformation,
violence, and hate speech, along with other content that violates YouTube’s policies. 335 A
2021 crowdsourced investigation from the Mozilla Foundation involving 37,000
YouTube users revealed that 71 percent of all reported negative user experiences came
from videos recommended by YouTube to users.336 And users were 40 percent more
likely to report a negative experience with a video recommended by YouTube’s
algorithm than with a video they searched for.337
       286.   The inappropriate and disturbing content YouTube’s algorithms expose
children to have adverse effects on mental health. Mental health experts have warned that

331
    Id.
332
    Id.
333
    Brooke Auxier et al., Parenting Children in The Age of Screens, Pew Rsch. Ctr. (July
  28, 2020), https://www.pewresearch.org/internet/2020/07/28/parental-views-about-
  youtube/.
334
    Joan E. Solsman, YouTube’s AI is the puppet master over most of what you watch,
  CNET (Jan. 20, 2018), https://www.cnet.com/tech/services-and-software/youtube-ces-
  2018-neal-mohan/.
335
    Brandy Zadrozny, YouTube’s recommendations still push harmful videos,
  crowdsourced study finds, NBC News (July 17, 2021),
  https://www.nbcnews.com/tech/tech-news/youtubes-recommendations-still-push-
  harmful-videos-crowdsourced-study-rcna1355.
336
    Id.
337
    Id.



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YouTube is a growing source of anxiety and inappropriate sexual behavior among kids
under the age of 13.338
       287.   Further the harmful content YouTube’s algorithms expose children to harm
brain development. “Children who repeatedly experience stressful and/or fearful
emotions may under develop parts of their brain’s prefrontal cortex and frontal lobe, the
parts of the brain responsible for executive functions, like making conscious choices and
planning ahead,” according to “Donna Volpitta, Ed.D., founder of The Center for
Resilient Leadership.”339
       288.   Even though much of the content YouTube’s algorithms feed to youth is
harmful, it triggers chemical reactions that encourage youth to spend more time watching
videos on YouTube. According to Dr. Volpitta, watching “fear-inducing videos cause the
brain to receive a small amount of dopamine,” which acts as a reward and creates a desire
to do something over and over.340 This dopaminergic response is in addition to the reward
stimulus YouTube provides users through IVR.
       289.   Mental health professionals across the country have seen an increase in
children experiencing mental health issues because of YouTube. Natasha Daniels, a child
psychotherapist in Arizona, has said she has seen a rise in cases of children suffering
from anxiety because of videos they watched on YouTube.341 Because of their anxiety,
these children “exhibit loss of appetite, sleeplessness, crying fits, and fear.”342
       290.   In addition to causing anxiety, watching YouTube is also associated with
insufficient sleep.343 In one study on the effect of app use and sleep, YouTube was the

338
    Josephine Bila, YouTube’s dark side could be affecting your child’s mental health,
  CNBC (Feb. 13, 2018), https://www.cnbc.com/2018/02/13/youtube-is-causing-stress-
  and-sexualization-in-young-children.html.
339
    Id.
340
    Id.
341
    Id.
342
    Id.
343
    Meg Pillion et al., What’s ‘app’-ning to adolescent sleep? Links between device, app
  use, and sleep outcomes, 100 Sleep Med. 174–82 (Dec. 2022),



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only app consistently associated with negative sleep outcomes.344 For every 15 minutes
teens spent watching YouTube, they had a 24 percent greater chance of getting fewer
than seven hours of sleep.345 YouTube is particularly problematic on this front because of
YouTube’s recommendation and autoplay feature make it “so easy to finish one video”
and watch the next, said Dr. Alon Avidan, director of the UCLA Sleep Disorders
Center.346 In turn, insufficient sleep is associated with poor health outcomes.347 Thus,
YouTube exacerbates an array of youth mental health issues by contributing to sleep
deprivation.
       291.    Despite the vast evidence that YouTube’s design and algorithms harms
millions of youths, Google continues to manipulate them into staying on the platform and
watching more and more videos so that it can increase its ad revenue.
E.     The Effect of Social Media Use on Schools
       292.    School districts are uniquely harmed by the current youth mental health
crisis. This is because schools are one of the main providers for mental health services for
school-aged children.348 Indeed, over 3.1 million children ages 12–17 received mental
health services through an education setting in 2020, more than any other non-specialty
mental health service setting.349
       293.    Most schools offer mental health services to students. In the 2021–22


  https://www.sciencedirect.com/science/article/abs/pii/S1389945722010991?via%3Dihu
  b.
344
    Id.
345
    Id.
346
    Cara Murez, One App is Especially Bad for Teens’ Sleep, U.S. News (Sept. 13, 2022),
  https://www.usnews.com/news/health-news/articles/2022-09-13/one-app-is-especially-
  bad-for-teens-sleep.
347
     Jessica C. Levenson et al., The Association Between Social Media Use and Sleep
  Disturbance Among Young Adults, 85 Preventive Med. 36–41 (Apr. 2016),
  https://www.sciencedirect.com/science/article/abs/pii/S0091743516000025.
348
     National Survey on Drug Use and Health, SAMHSA (2019 & 1st & 4th Qs. 2020),
  https://www.samhsa.gov/data/report/2020-nsduh-detailed-tables.
349
    Id.



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school year, 96 percent of public schools reported offering at least one type of mental
health service to their students.350 But 88 percent of public schools did not strongly agree
that they could effectively provide mental health services to all students in need.351 The
most common barriers to providing effective mental health services are (1) insufficient
number of mental health professionals; (2) inadequate access to licensed mental health
professionals; and (3) inadequate funding.352 Student opinions also reflect that schools are
unable to provide adequate mental health services. Less than a quarter of students in
grades 6–12 report accessing counseling or psychological services when they are upset,
stressed, or having a problem.353 And of the students who access mental health services,
only 41 percent of middle schoolers and 36 percent of high schoolers are satisfied with
the services they receive.354
       294.   In part, schools are struggling to provide adequate mental health services
because of the increase in students seeking these services. More than two-thirds of public
schools reported an increase in the percent of students seeking mental health services
from school since the start of the pandemic.355
       295.   During this same period, adolescents increased their social media use, also
raising levels of excessive and problematic use of digital media.356 And these higher rates

350
     Roughly Half of Public Schools Report That They Can Effectively Provide Mental
  Health Services to All Students In Need, Nat’l Ctr. Educ. Stat. (May 31, 2022),
  https://nces.ed.gov/whatsnew/press_releases/05_31_2022_2.asp.
351
    Id.
352
    Id.
353
     Insights From the Student Experience, Part I: Emotional and Mental Health at 2,
  YouthTruth                    (2022),                https://youthtruthsurvey.org/wp-
  content/uploads/2022/10/YouthTruth_EMH_102622.pdf.
354
    Id.
355
     Roughly Half of Public Schools Report That They Can Effectively Provide Mental
  Health Services to All Students In Need, Nat’l Ctr. Educ. Stat. (May 31, 2022),
  https://nces.ed.gov/whatsnew/press_releases/05_31_2022_2.asp.
356
    Laura Marciano et al., Digital Media Use and Adolescents' Mental Health During the
  Covid-19 Pandemic: A Systematic Review and Meta-Analysis, Frontiers Pub. Health (Feb.
  2022), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8848548/.



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of social media use are related to higher “ill-being.”357 Thus, the increase in adolescent
social media use during the pandemic has caused an increase in adolescents experiencing
mental health problems.
       296.      That relationship is reflected in reports from public schools. Over 75
percent of public schools reported an increase in staff expressing concerns about student
depression, anxiety, and other disturbances since the start of the pandemic. 358 Students
receiving mental health services in educational settings predominately do so because they
“[f]elt depressed,” “[t]hought about killing [themselves] or tried to” or “[f]elt very afraid
and tense.”359
       297.      Anxiety disorders are also up, affecting 31.9 percent of adolescents
between 13 and 18 years old.360 “Research shows that untreated teenagers with anxiety
disorders are at higher risk to perform poorly in school, miss out on important social
experiences, and engage in substance abuse.”361
       298.      Schools are struggling not only to provide students with mental health
services but also to deliver an adequate education because of the youth mental health
crisis. Students in grades 6–12 identify depression, stress, and anxiety as the most
prevalent obstacles to learning.362 Most middle school and high school students also fail

357
    Id.
358
    Roughly Half of Public Schools Report That They Can Effectively Provide Mental
  Health Services to All Students In Need, Nat’l Ctr. Educ. Stat. (May 31, 2022),
  https://nces.ed.gov/whatsnew/press_releases/05_31_2022_2.asp.
359
    Rachel N. Lipari et al., Adolescent Mental Health Service Use and Reasons for Using
  Services in Specialty, Educational, and General Medical Settings, SAMHSA (May 5,
  2016), https://www.samhsa.gov/data/sites/default/files/report_1973/ShortReport-
  1973.html#:~:text=The percent20Substance percent20Abuse percent20and
  percent20Mental,273 percent2DTALK percent20(8255).
360
    Anxiety Disorders: Facts and Statistics, Anxiety & Depression Ass’n Am.,
  https://adaa.org/understanding-anxiety/facts-statistics (last visited Dec. 8, 2022).
361
    Id.
362
    Insights From the Student Experience, Part I: Emotional and Mental Health at 2–3,
  YouthTruth (2022), https://youthtruthsurvey.org/wp-
  content/uploads/2022/10/YouthTruth_EMH_102622.pdf.



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to get enough sleep on school nights, which contributes to poor academic performance. 363
These negative mental health outcomes are also the most common symptoms of
excessive social media use.
       299.   The youth mental health crisis has also caused a wide range of other
behavioral issues among students that interfere with schools’ ability to teach. In 2022, 61
percent of public schools saw an increase in classroom disruptions from student
misconduct compared to school years before the pandemic.364 Fifty-eight percent of
public schools also saw an increase in rowdiness outside of the classroom, 68 percent saw
increases in tardiness, 27 percent saw increases in students skipping classes, 55 percent
saw increases in the use of electronic devices when not permitted, 37 percent saw an
increase in bullying, 39 percent saw an increase in physical fights between students, and
46 percent saw an increase in threats of fights between students.365
       300.   Further exacerbating school’s struggle to teach is the fact students are not
showing up to school. Indeed, student absenteeism has greatly increased. In the 2021–22
school year, 39 percent of public schools experienced an increase in chronic student
absenteeism compared to the 2020–21 school year, and 72 percent of public schools saw
increased chronic student absenteeism compared to school years before the pandemic.366
Following suit, vandalism has increased in 2022, with 36 percent of public schools
reporting increased acts of student vandalism on school property.367
       301.   School districts have borne increased costs and expenses in response to the
youth mental health crisis. These costs include:


363
    Anne G. Wheaton et al., Short Sleep Duration Among Middle School and High School
  Students-United States, 2015, 67(3) Morbidity & Mortality Wkly. Rpt. 85–90 (Jan. 26,
  2018), http://dx.doi.org/10.15585/mmwr.mm6703a1.
364
    2022 School Pulse Panel, U.S. Dep’t Educ., Inst. Educ. Sci. (2022),
  https://ies.ed.gov/schoolsurvey/spp/.
365
    Id.
366
    Id.
367
    Id.



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      •      hiring additional mental health personnel (41 percent of public schools
             added staff to focus on student mental health);368

      •      developing additional mental health resources (46 percent of public schools
             created or expanded mental health programs for students, 27 percent added
             student classes on social, emotional, and mental health and 25 percent
             offered guest speakers for students on mental health);369

      •      training teachers to help students with their mental health (56 percent of
             public schools offered professional development to teachers on helping
             students with mental health);370

      •      increasing disciplinary services and hiring additional personnel for
             disciplinary services in response to increased bullying and harassment over
             social media;

      •      addressing property damaged as a result of students acting out because of
             mental, social, and emotional problems Defendants’ conduct caused;

      •      diverting time and resources from instruction activities to notify parents and
             guardians of students’ behavioral issues and attendance;

      •      investigating and responding to threats made against schools and students
             over social media;

      •      updating its student handbook to address use of Defendants’ platforms; and

      •      updating school policies to address use of Defendants’ platforms.

F.    Impact of Social Media Use on Plaintiff
      302.   Plaintiff Mesa Public Schools is the largest school district in Arizona and is
located in Maricopa County, Arizona, the largest county in Arizona and the fourth most-
populous county in the United States. Mesa Public Schools operates 78 schools, serving
approximately 58,000 students.371

368
    Id.
369
    Id.
370
    Id.
371
    Mesa Unified District, U.S. News & World Rep.,
  https://www.usnews.com/education/k12/arizona/districts/mesa-unified-district-4235-
  104634 (last visited Jan. 10, 2023).



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       303.     Mesa Public Schools has been directly impacted by the mental health crisis
among youth in its community.
       304.     There has been a surge in the proportion of youth in Plaintiff’s community
who say they cannot stop or control their anxiety, who feel so sad and hopeless that they
stop doing the activities that they used to love, who are considering suicide, who made
plans to commit suicide, and who have attempted to commit suicide.
       305.     Suicide was the third leading cause of death of children in Arizona in
2022.372 Arizona’s teenage suicide rates are higher than the national average, and nearly 1
in 5 high school students say they have seriously considered attempting suicide in the
past year.373
       306.     Teen Lifeline, Arizona’s only teen-to-teen crisis hotline, serves 25 schools
in Mesa Public Schools. In June and July of 2020, Teen Lifeline reported a 46 percent
increase in calls and texts from stressed teens.374 And from January to August 2021, Teen
Lifeline saw a 30 percent increase from the prior year, with 30 percent of calls and texts
coming from teens struggling with thoughts of suicide.375 The most common reason
teenagers call Teen Lifeline is because they are having suicidal thoughts. 376
       307.     Similarly, Community Bridges, a Mesa-based behavioral healthcare
provider, received increased referrals for children and teenagers in the East Valley area in

372
    Sara Crocker, Not All Right: Arizona’s Youth Mental Health Emergency, Phx. Mag.
  (Dec. 27, 2022), https://www.phoenixmag.com/2022/12/27/not-all-right-arizonas-youth-
  mental-health-emergency/.
373
    Kim Powell, Teen Suicide Rates in Arizona Higher than National Average, KOLD
  News 13 (Sept. 15, 2021), https://www.kold.com/2021/09/15/teen-suicide-rates-arizona-
  higher-than-national-average/.
374
    Jim Walsh, As Classrooms Reopen, Students’ Mental Health a Big Concern, E. Valley
  Trib. (Sept. 22, 2020), https://www.eastvalleytribune.com/news/as-classrooms-reopen-
  students-mental-health-a-big-concern/article_a9f6d8fa-fc39-11ea-8fc7-
  13fb3d16b648.html.
375
    Kim Powell, Teen Suicide Rates in Arizona Higher than National Average, KOLD
  News 13 (Sept. 15, 2021), https://www.kold.com/2021/09/15/teen-suicide-rates-arizona-
  higher-than-national-average/.
376
    Id.



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2020.377 “We have seen an increase in referrals for suicidal ideation, anxiety and
depression,” said Natalia Chimbo Andrade, Community Bridges’ director of community
education and outreach.378
       308.   These increases in anxiety, depression, and suicidal behavior have
contributed to students’ increased behavioral problems in Plaintiff’s schools. During the
2021-22 school year, more of Mesa Public Schools’ students got into trouble than in
previous years. Mesa Public Schools recorded over 18,000 incidents involving discipline,
an increase of nearly 3,500 disciplinary incidents from the 2018-2019 school year.379
       309.   The increase in students who report suffering from anxiety and depression
and the increase in behavioral issues have not gone unnoticed. “We know that many of
these incidents of aggression and those other policy violations are begging for additional
mental health crisis counseling,” said Mesa Public Schools Associate Superintendent
Holly Williams.380
       310.   While Plaintiff deals with increasing disciplinary incidents on the one hand,
it must also deal with absent students on the other. Indeed, chronic absenteeism has
increased, with 38 percent of Mesa Public Schools’ students missing more than 10
percent of school days during the 2021-22 school year.381
       311.   The adverse effects of Defendants’ platforms on students’ mental health are


377
    Jim Walsh, As Classrooms Reopen, Students’ Mental Health a Big Concern, E. Valley
  Trib. (Sept. 22, 2020), https://www.eastvalleytribune.com/news/as-classrooms-reopen-
  students-mental-health-a-big-concern/article_a9f6d8fa-fc39-11ea-8fc7-
  13fb3d16b648.html.
378
    Id.
379
    Kevin Reagan, Disciplinary Actions on the Rise at Mesa Public Schools, Data Shows,
  12News (June 7, 2022) https://www.12news.com/article/news/education/mesa-public-
  schools-seems-to-have-a-discipline-problem-numbers-show/75-252ce735-27b0-47b4-
  9326-895eaab44ec2.
380
    Scott Schumaker, Some Troubling Data for Mesa School Officials, E. Valley Trib.
  (June 5, 2022), https://www.eastvalleytribune.com/news/some-troubling-data-for-mesa-
  school-officials/article_f9e7123e-e374-11ec-82cd-9f52ba63788c.html.
381
    Id.



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well-captured by a video created by a Mesa Public Schools student for her English
Composition class, entitled “Nomophobia,” which she describes as “a fear of being
detached from mobile phone connectivity.”382 This fear is corroborated by the data above,
which shows that students are on Defendants’ platforms almost constantly. The video
shows a figure repeatedly checking their phone until they are sucked into the screen. The
figure then emerges with the phone always in their hand and it becomes chained to their
wrist. When the figure realizes they are chained to their phone and breaks the chain, they
are sucked into a dark pit. They are then surrounded by, and eventually killed by, social
media icons, including Instagram, Facebook, Snapchat, and YouTube.
       312.     The pandemic and corresponding increase in time youth spend on
Defendants’ platforms have intensified the youth mental health crisis and the behavioral
issues Plaintiff’s students are experiencing.
       313.     The current youth mental health crisis has led to a marked increase in the
number of Plaintiff’s students in crisis, acting out, and in need of mental health services.
       314.     In an attempt to address the decline in students’ mental, emotional, and
social health, Plaintiff has been forced to divert resources and expend additional
resources to:
       a.       hire additional personnel, including counselors and medical professionals to
address mental, emotional, and social health issues;383
       b.       develop additional resources to address mental, emotional, and social health
issues; 384

382
    Nomophobia, https://www.youtube.com/watch?v=D3WziMAWXLM
383
    Jordan Houston, Mesa Schools Home in on Student Mental Health, E. Valley Trib.
  (July 31, 2019), https://www.eastvalleytribune.com/news/mesa-schools-home-in-on-
  student-mental-health/article_0caeee1a-b21c-11e9-bcc0-87d2f56633f2.html; Jordan
  Houston, Mesa Schools Revising Counselor’s Role, E. Valley Trib. (Aug. 20, 2019),
  https://www.eastvalleytribune.com/news/mesa-schools-revising-counselors-
  role/article_c467ec78-c077-11e9-800f-afc95ca62bf3.html.
384
    Trisha Hendricks, Pawsitive Peers Program in Mesa Public Schools Improves
  Students’ Mental Health, 12News (Aug. 16, 2021),



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       c.     increase training for teachers and staff to identify students exhibiting
symptoms affecting their mental, emotional, and social health;385
       d.     train teachers, staff, and members of the community about the harms
caused by Defendants’ wrongful conduct;
       e.     develop lesson plans to teach students about the dangers of using
Defendants’ platforms;
       f.     educate students about the dangers of using Defendants’ platforms;
       g.     update its student handbook to address use of Defendants’ platforms; and
       h.     update school policies to address use of Defendants’ platforms.
       315.   Additionally, more students have been acting out as a result of the decline
Defendants caused in students’ mental, emotional, and social health.386 Resultingly,
Plaintiff has been forced to divert resources and expend additional resources to:
       a.     repair property damaged as a result of the exploitive and harmful content
Defendants directed to students;387
       b.     increase disciplinary services and time spent addressing bullying,
harassment, and threats;


  https://www.12news.com/article/news/education/pawsitive-peers-program-in-mesa-
  public-schools-improves-students-mental-health-in-arizona/75-cfcafc72-5b2e-4658-
  abc9-87cc34f0269b.
385
    Jordan Houston, Mesa Schools Home in on Student Mental Health, E. Valley Trib. (July
  31, 2019), https://www.eastvalleytribune.com/news/mesa-schools-home-in-on-student-
  mental-health/article_0caeee1a-b21c-11e9-bcc0-87d2f56633f2.html; Jordan Houston,
  Mesa Schools Revising Counselor’s Role, E. Valley Trib. (Aug. 20, 2019),
  https://www.eastvalleytribune.com/news/mesa-schools-revising-counselors-
  role/article_c467ec78-c077-11e9-800f-afc95ca62bf3.html.
386
    Kevin Reagan, Disciplinary Actions on the Rise at Mesa Public Schools, Data Shows,
  12News (June 7, 2022) https://www.12news.com/article/news/education/mesa-public-
  schools-seems-to-have-a-discipline-problem-numbers-show/75-252ce735-27b0-47b4-
  9326-895eaab44ec2.
387
    Lisa Irish, Schools Ask Families to Talk with Students to Prevent TikTok Challenges
  Damage, AZEDNews (Oct. 13, 2021), https://azednews.com/schools-ask-families-to-
  talk-with-students-to-prevent-tiktok-challenges-damage/.



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       c.     confiscate devices on which students were compelled by Defendants’
conduct to use while in class or school campuses to access Defendants’ platforms;
       d.     meet with students and the parents of students caught using Defendants’
platforms at school;
       e.     divert time and resources from instructional activities to notify parents and
guardians of students’ behavioral issues and attendance; and
       f.     investigate and respond to threats made against schools and students over
social media.388
       316.   As of the 2022-23 school year, Plaintiff employs over 150 school
counselors across the district.389 Eight of Plaintiff’s high schools have one full time social
worker.390 Twenty-eight schools have a formal partnership with a behavioral health
agency, which provide intake, tele-health services and therapy at the school or in the
home.391
       317.   But even with these resources, Plaintiff cannot keep up with the increased
need for mental health services because of the youth mental health crisis.
       318.   As a result, the rest of Plaintiff’s staff must fill in the cracks to help
students with mental health concerns.

388
    Bianca Buono, Arizona Schools, Law Enforcement Warn of School Threat TikTok
  ‘Challenge,’ 12News (Dec. 16, 2021),
  https://www.12news.com/article/news/education/arizona-schools-law-enforcement-
  warn-of-school-threat-tiktok-challenge/75-ca263025-fc8b-4be7-8e6e-f1fc57028311.
389
    Opportunity & Achievement: School Counselors – Elementary, Junior High and High
  School, Mesa Pub. Schs.,
  https://www.mpsaz.org/opportunity/schoolcounselors/#:~:text=Elementary%2C%20Jun
  ior%20High%2C%20and%20High,counselors%20across%20our%2084%20schools
  (last visited Jan. 13, 2023).
390
    Opportunity & Achievement: Social Workers, Mesa Pub. Schs.,
  https://www.mpsaz.org/opportunity/socialwork/ (last visited Jan. 13, 2023).
391
    Michele Grimaldi, Community Partnerships in Mesa Public Schools, Mesa Pub. Schs.
  (Oct. 27, 2020),
  https://go.boarddocs.com/az/mpsaz/Board.nsf/files/BUMVJG80F796/$file/Community
  %20Partnerships%20in%20Mesa%20Public%20Schools%2010.27.20.pdf.



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       319.   Recently, the Arizona legislature recognized the increasing severity of the
youth mental health crisis. In June 2022, in response to a spike of teen suicides in the
East Valley, then-state House Speaker Rusty Bowers formed a special committee charged
with trying to find solutions to the mental health crisis.392
       320.   Representative Joanna Osborne, the head of the Teen Mental Health House
Ad Hoc Committee (“House Committee”), noted the extent of the youth mental health
crisis and social media’s role in exacerbating the problem. “Teenage children today are
faced with tremendous stress and pressure along the path to adulthood, and far too many
succumb to substance abuse and suicidal ideations,” said Osborne.393 “Struggles because
of the pandemic and social media aggravate the situation further. [”]394
       321.   Arizona Governor Katie Hobbs has also emphasized the importance of
addressing the youth mental health crisis. In her inaugural State of the State address,
Governor Hobbs acknowledged that Arizona school districts, like Plaintiff, lack adequate
resources to address the ongoing youth mental health crisis.395 “We need to prioritize
hiring social workers and counselors for our schools to address the mental health crisis
among children and teenagers,” Governor Hobbs said.396 “Currently each counselor in an
Arizona school provides services for more than 700 kids on average. That’s the highest
ratio in the nation and nearly three times the recommended standard.”397
       322.   But Plaintiff requires significant and long-term funding to address the
nuisance Defendants have created and amplified. Such funding should not fall at the foot


392
    Paul Maryniak, Mesa Lawmaker Forms House Panel on Teen Crisis, E. Valley Trib.
  (June 6, 2022), https://www.eastvalleytribune.com/news/mesa-lawmaker-forms-house-
  panel-on-teen-crisis/article_bbc82c04-e379-11ec-8dc3-d7d51589b8e4.html.
393
    Id.
394
    Id.
395
    Transcript: Governor Hobbs 2023 State of the State Address, Office of the Governor
  Katie Hobbs (Jan. 9, 2023), https://azgovernor.gov/office-arizona-
  governor/news/2023/01/transcript-governor-hobbs-2023-state-state-address.
396
    Id.
397
    Id.



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of the legislature and, in turn, the public. Rather, Defendants must bear the burden of
remedying their wrongs. It is time, as President Biden declared, to get “all Americans the
mental health services they need.”398
      V.      SECTION 230 IS NO SHIELD FOR DEFENDANTS’ CONDUCT
       323.   Plaintiff anticipates that Defendants will raise section 230 of the
Communications Decency Act, 47 U.S.C. § 230(c)(1), as a shield for their conduct. But
section 230 is no shield for Defendants’ own acts in designing, marketing, and operating
social media platforms that are harmful to youth.
       324.   Section 230 provides immunity from liability only to “(1) a provider or user
of an interactive computer service (2) whom a plaintiff seeks to treat, under a state law
cause of action, as a publisher or speaker (3) of information provided by another
information content provider.” Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100–01 (9th Cir.
2009), as amended (Sept. 28, 2009).
       325.   Publication generally involves traditional editorial functions, such as
reviewing, editing, and deciding whether to publish or to withdraw from publication
third-party content. Lemmon v. Snap, Inc., 995 F.3d 1085, 1091 (9th Cir. 2021).
       326.   Publication does not, however, include duties related to designing and
marketing a social media platform. See id. at 1092–93.
       327.   Plaintiff expressly disavows any claims or allegations that attempt to hold
Defendants liable as the publisher or speaker of any information provided by third
parties.
       328.   Section 230 does not shield Defendants’ conduct because, among other
considerations: (1) Defendants are liable for their own affirmative conduct in
recommending and promoting harmful content to youth; (2) Defendants are liable for


398
   President Biden, State of the Union Address (Mar. 1, 2022) (transcript available at
 https://www.whitehouse.gov/state-of-the-union-2022/).




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their own actions designing and marketing their social media platforms in a way that
causes harm; (3) Defendants are liable for the content they create that causes harm; and
(4) Defendants are liable for distributing, delivering, and/or transmitting material that
they know or have reason to know is harmful, unlawful, and/or tortious.
       329.   First, Plaintiff is not alleging Defendants are liable for what third-parties
have said on Defendants’ platforms but, rather, for Defendants’ own conduct. As
described above, Defendants affirmatively recommend and promote harmful content to
youth, such as pro-anorexia and eating disorder content. Recommendation and promotion
of damaging material is not a traditional editorial function and seeking to hold
Defendants liable for these actions is not seeking to hold them liable as a publisher or
speaker of third party-content.
       330.   Second, Plaintiff’s claims arise from Defendants’ status as designers and
marketers of dangerous social media platforms that have injured the health, comfort, and
repose of its community. The nature of Defendants’ platforms centers around
Defendants’ use of algorithms and other designs features that encourage users to spend
the maximum amount of time on their platforms—not on particular third party content.
The algorithms Defendants employ adapt to the social media activity of individual users
to promote whatever content will trigger a particular user’s attention and maximize their
screen time. That is, Defendants’ algorithms are user-focused rather than content-based
and are indifferent to the nature and type of content they promote to users, provided that
such content increases the time users spend on their platforms. In that respect, they are
content neutral.
       331.   Third, Defendants are liable for the content they create. In addition to
content such as Snapchat filters which promote body dysmorphia, Defendants send
emails and notifications to youth including material they create which often promotes
certain harmful content.
       332.   Fourth, Plaintiff does not seek to hold Defendants liable as publishers or




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speakers of information provided by other content providers, but instead Plaintiff seeks to
hold them liable for distributing material they know or should know is harmful or
unlawful. See Malwarebytes, Inc. v. Enigma Software Grp. USA, LLC, 141 S. Ct. 13
(2020) (statement of Justice Thomas respecting denial of certiorari discussing the
distinction between distributor and publisher liability); cf. Restatement (Second) of Torts
§ 581 (Am. Law Inst. 1977) (“[O]ne who only delivers or transmits defamatory matter
published by a third person is subject to liability if, but only if, he knows or has reason to
know of its defamatory character.”).
          333.   Ultimately, Plaintiff’s claim is not predicated on information provided by
another information content provider. Rather, Plaintiff’s claim rests on Defendants’
conduct which has resulted in the current public health crisis among youth mental health.
                                 VI.    CAUSE OF ACTION

                                              PUBLIC NUISANCE

          334.   Plaintiff incorporates each preceding paragraph as though set forth fully
herein.
          335.   Plaintiff brings this claim under Arizona public nuisance law as to all
Defendants
          336.   Under Arizona law, a public nuisance is an unreasonable interference with
a right common to the general public that affects a considerable number of people or an
entire community or neighborhood.
          337.   Defendants have created a mental health crisis in Mesa Public Schools,
injuring the public health and safety in Plaintiff’s community and interfering with the
operations, use, and enjoyment of the property of Mesa Public Schools.
          338.   Employees and patrons, including students, of Mesa Public Schools have a
right to be free from conduct that endangers their health and safety. Yet Defendants have
engaged in conduct which endangers or injures the health and safety of the employees




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and students of Mesa Public Schools by designing, developing, marketing, supplying,
promoting, advertising, operating, and distributing their respective social media platforms
for use by students in Mesa Public Schools and in a manner that substantially interferes
with the functions and operations of Mesa Public Schools and impacts the public health,
safety, and welfare of the Mesa Public Schools community.
       339.   Each Defendant has created or assisted in the creation of a condition that is
injurious to the health and safety of Plaintiff and its students and employees and
interferes with the comfortable enjoyment of life and property of the Mesa Public
Schools community.
       340.   The health and safety of the students and employees of Mesa Public
Schools, including those who use, have used, or will use Defendants’ platforms, as well
as those affected by others’ use of their platforms, are matters of substantial public
interest and of legitimate concern to Plaintiff.
       341.   Defendants’ conduct has affected and continues to affect a substantial
number of people within Mesa Public Schools and is likely to continue causing
significant harm.
       342.   Defendants’ conduct has directly caused a severe disruption of the public
health, order, and safety. Defendants’ conduct is ongoing and continues to produce
permanent and long-lasting damage.
       343.   This harm to youth mental health and the corresponding impacts to public
health, safety, and the welfare of the Mesa Public Schools community outweighs any
social utility of Defendants’ wrongful conduct.
       344.   The rights, interests, and inconvenience to Mesa Public Schools’
community far outweighs the rights, interests, and inconvenience to Defendants, who
have profited tremendously from their wrongful conduct.
       345.   But for Defendants’ actions, Plaintiff’s students would not use social media
platforms as frequently or long as they do today, be deluged with exploitive and harmful




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content to the same degree, and the public health crisis that currently exists as a result of
Defendants’ conduct would have been averted.
       346.   Logic, common sense, justice, policy, and precedent indicate Defendants’
unfair and deceptive conduct has caused the damage and harm complained of herein.
Defendants knew or reasonably should have known that their design, development,
marketing, supply, promotion, advertisement, operation, and distribution of their
platforms would cause students to use their platforms excessively, that their marketing
methods were designed to appeal to youth, and that their active efforts to increase youth
use of their platforms were causing harm to youth and to schools, including youth in
Mesa Public Schools.
       347.   Thus, the public nuisance caused by Defendants was reasonably
foreseeable, including the financial and economic losses incurred by Mesa Public
Schools.
       348.   Alternatively, Defendants’ conduct was a substantial factor in bringing
about the public nuisance even if a similar result would have occurred without it. By
designing, developing, marketing, supplying, promoting, advertising, operating, and
distributing their platforms in a manner intended to maximize the time youth spend on
their respective platforms—despite knowledge of the harms to youth from their wrongful
conduct—Defendants directly facilitated the widespread, excessive, and habitual use of
their platforms and the public nuisance effecting Mesa Public Schools. By seeking to
capitalize on their success by refining their platforms to increase the time youth spend on
their platforms, Defendants directly contributed to the public health crisis and the public
nuisance effecting Mesa Public Schools.
       349.   Defendants’ conduct is especially injurious to Mesa Public Schools
because, as a direct and proximate cause of Defendants’ conduct creating or assisting in
the creation of a public nuisance, Plaintiff and its students and employees have sustained
and will continue to sustain substantial injuries.




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          350.   Plaintiff has had to take steps to mitigate the harm and disruption caused by
Defendants’ conduct, including the following:
          a.     hiring additional personnel to address mental, emotional, and social health
issues;
          b.     developing additional resources to address mental, emotional, and social
health issues;
          c.     increasing training for teachers and staff to identify students exhibiting
symptoms affecting their mental, emotional, and social health;
          d.     training teachers, staff, and members of the community about the harms
caused by Defendants’ wrongful conduct;
          e.     developing lesson plans to teach students about the dangers of using
Defendants’ platforms;
          f.     educating students about the dangers of using Defendants’ platforms;
          g.     addressing property damaged as a result of students acting out because of
mental, social, and emotional problems Defendants’ conduct is causing;
          h.     increasing disciplinary services and time spent addressing bullying,
harassment, and threats;
          i.     confiscating devices on which students use Defendants’ platforms while in
class or on Plaintiff’s school campuses;
          j.     meeting with students and the parents of students caught using Defendants’
platforms at school or other disciplinary matters related to students’ use of Defendants’
platforms;
          k.     diverting time and resources from instruction activities to notify parents and
guardians of students’ behavioral issues and attendance;
          l.     investigating and responding to threats made against Plaintiff’s schools and
students over social media;
          m.     updating its student handbook to address use of Defendants’ platforms; and




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       n.     updating school policies to address use of Defendants’ platforms.
       351.   Fully abating the nuisance resulting from Defendants’ conduct will require
much more than these steps.
       352.   Mesa Public Schools requests an order providing for abatement of the
public nuisance that Defendants have created or assisted in the creation of, and enjoining
Defendants from future conduct contributing to the public nuisance described above.
       353.   Plaintiff also seeks the maximum statutory and civil penalties permitted by
law, including actual and compensatory damages, as a result of the public nuisance
created by Defendants.
       354.   Defendants are jointly and severally liable because they have acted in
concert with each other and because Plaintiff is not at fault.
       355.   Defendants’ conduct, as described above, was intended to serve their own
interests despite having reason to know and consciously disregarding a substantial risk
that their conduct might significantly injure the rights of others, including Plaintiff,
and/or Defendants consciously pursued a course of conduct knowing that it created a
substantial risk of significant harm to others, including Plaintiff. Defendants regularly
risk the health of consumers and users of their platforms with full knowledge of the
dangers of their platforms. Defendants consciously decided not to redesign, warn, or
inform the unsuspecting public, including Plaintiff’s students or Plaintiff. Defendants’
willful, knowing, and reckless conduct therefore warrants an award of aggravated or
punitive damages.
                                                 NEGLIGENCE

       356.   Plaintiff incorporates by reference all preceding paragraphs.
       357.   Defendants owed Plaintiff a duty to not expose Plaintiff to an unreasonable
risk of harm, and to act with reasonable care as a reasonably careful person and/or
company would act under the circumstances.
       358.   At all times relevant to this litigation, Defendants owed a duty to




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consumers and the general public, including Plaintiff, to exercise reasonable care in the
design, research, development, testing, marketing, supply, promotion, advertisement,
operation, and distribution of Defendants social media platforms, including the duty to
take all reasonable steps necessary to design, research , market, advertise, promote,
operate, and/or distribute their platforms in a way that is not unreasonably dangerous to
consumers users, including children.
       359.   At all times relevant to this litigation, Defendants owed a duty to
consumers and the general public, including Plaintiff, to exercise reasonable care in the
design, research, development, testing, marketing, supply, promotion, advertisement,
operation, and distribution of their social media platforms, including the duty to provide
accurate, true, and correct information about the risks of using Defendants’ platforms;
and appropriate, complete, and accurate warnings about the potential adverse effects of
extended social media use, in particular, social media content Defendants directed via
their algorithms to users.
       360.   At all times relevant to this litigation, Defendants knew or, in the exercise
of reasonable care, should have known of the hazards and dangers of their respective
social media platforms and specifically, the health hazards their platforms posed to youth
in particular, especially extended or problematic use of such platforms.
       361.   Accordingly, at all times relevant to this litigation, Defendants knew or, in
the exercise of reasonable care, should have known that use of Defendants’ social media
platforms by youth could cause Plaintiff’s injuries and thus created a dangerous and
unreasonable risk of injury to Plaintiff.
       362.   Defendants also knew or, in the exercise of reasonable care, should have
known that users and consumers of Defendants’ social media platforms were unaware of
the risks and the magnitude of the risks associated with the use of Defendants’ platforms
including but not limited to the risks of extended or problematic social media use and the
likelihood that algorithm-based recommendations would expose child and adolescent




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users to content that is violent, sexual, or encourages self-harm, among other types of
harmful content.
       363.   As such, Defendants, by action and inaction, representation and omission,
breached their duty of reasonable care, failed to exercise ordinary care, and failed to act
as a reasonably careful person and/or company would act under the circumstances in the
design, research, development, testing, marketing, supply, promotion, advertisement,
operation, and distribution of their social media platforms, in that Defendants designed,
researched, developed, tested, marketed, supplied, promoted, advertised, operated, and
distributed social media platforms that Defendants knew or had reason to know would
negatively impact the mental health of consumers, particularly youth, and failed to
prevent or adequately warn of these risks and injuries.
       364.   Despite their ability and means to investigate, study, and test their social
media platforms and to provide adequate warnings, Defendants have failed to do so.
Defendants have wrongfully concealed information and have made false and/or
misleading statements concerning the safety and use of Defendants’ social media
platforms.
       365.   Defendants’ negligence includes:
       a.     Designing, researching, developing, marketing, supplying, promoting,
advertising, operating, and distributing their social media platforms without thorough and
adequate pre- and post-market testing; design, research, development, testing, marketing,
supply, promotion, advertisement, operation, and distribution
       b.     Failing to sufficiently study and conduct necessary tests to determine
whether or not their social media platforms were safe for youth users;
       c.     Failing to use reasonable and prudent care in the research, design,
development, testing, marketing, supply, promotion, advertisement, operation, and
distribution of their social media platforms so as to avoid the risk encouraging extended
social media use;




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       d.     Designing their social media platforms to maximize the amount of time
users spend on the platform and causing excessive and problematic use of their platforms,
particularly among youth, through the use of algorithm-based feeds, social reciprocity,
and IVR;
       e.     Failing to implement adequate safeguards in the design and operation of
their platforms to ensure they would not encourage excessive and problematic use of their
platforms;
       f.     Designing and manufacturing their platforms to appeal to minors and young
people who lack the same cognitive development as adults and are particularly vulnerable
to social rewards like IVR and social reciprocity;
       g.     Failing to take adequate steps to prevent their platforms from being
promoted, distributed, and used by minors under the age of 13;
       h.     Failing to provide adequate warnings to child and adolescent users or
parents who Defendants could reasonably foresee would use their platforms;
       i.     Failing to disclose to, or warn, Plaintiff, users, consumers, and the general
public of the negative mental health consequences associated with social media use,
especially for children and adolescents;
       j.     Failing to disclose to Plaintiff, users, consumers, and the general public that
Defendants’ platforms are designed to maximize the time users, particularly youth, spend
on Defendants’ platforms and cause negative mental health consequences;
       k.     Representing that Defendants’ platforms were safe for child and adolescent
users when, in fact, Defendants knew or should have known that the platforms presented
acute mental health concerns for young users;
       l.     Failing to alert users and the general public, including students at Plaintiff’s
schools of the true risks of using Defendants’ platforms;
       m.     Advertising, marketing; and recommending Defendants’ platforms while
concealing and failing to disclose or warn of the dangers known by Defendants to be




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associated with, or caused by, youth use of Defendants’ platforms;
       n.     Continuing to design, research, develop, market, supply, promote,
advertise, operate, and distribute Defendants’ platforms with knowledge that Defendants’
platforms are unreasonably unsafe, addictive, and dangerous to youth mental health;
       o.     Failing to modify Defendants’ algorithms, which are used to recommend
content to users, in a manner that would no longer prioritize maximizing the amount of
time users spend on Defendants’ platforms over the safety of its youth users;
       p.     Failing to adequately modify Defendants’ algorithm-based
recommendations to filter out content that expose child and adolescent users to content
that is violent, sexual, or encourages self-harm, among other types of harmful content.
       q.     Committing other failures, acts, and omissions set forth herein.
       366.   Defendants knew or should have known that it was foreseeable that
Plaintiff would suffer injuries as a result of Defendants’ failure to exercise reasonable
care in designing, researching, developing, testing, marketing, supplying, promoting,
advertising, operating, and distributing Defendants’ platforms, particularly when
Defendants’ platforms were designed, developed, operated and marketed to maximize the
time youth spend on Defendants’ platforms.
       367.   Plaintiff did not know the nature and extent of the injuries that could result
from the intended use of Defendants’ social media platforms by Plaintiff’s students.
       368.   Defendants’ negligence helped to and did produce, and was the proximate
cause of, the injuries, harm, and economic losses that Plaintiff suffered and will continue
to suffer, and such injuries, harm, and economic losses would not have happened without
Defendants’ negligence as described herein.
       369.   The mental health crisis caused and/or significantly contributed to by
Defendants has caused a major disruptive behavioral situation in Plaintiff’s schools, and
Plaintiff has had to take steps to mitigate the harm and disruption caused by Defendants’
conduct, including the following:




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          a.     hiring additional personnel to address mental, emotional, and social health
issues;
          b.     developing additional resources to address mental, emotional, and social
health issues;
          c.     increasing training for teachers and staff to identify students exhibiting
symptoms affecting their mental, emotional, and social health;
          d.     training teachers, staff, and members of the community about the harms
caused by Defendants’ wrongful conduct;
          e.     developing lesson plans to teach students about the dangers of using
Defendants’ platforms;
          f.     educating students about the dangers of using Defendants’ platforms;
          g.     addressing property damaged as a result of students acting out because of
mental, social, and emotional problems Defendants’ conduct is causing;
          h.     increasing disciplinary services and time spent addressing bullying,
harassment, and threats;
          i.     confiscating devices on which students use Defendants’ platforms while in
class or on Plaintiff’s school campuses;
          j.     meeting with students and the parents of students caught using Defendants’
platforms at school or other disciplinary matters related to students’ use of Defendants’
platforms;
          k.     diverting time and resources from instruction activities to notify parents and
guardians of students’ behavioral issues and attendance;
          l.     investigating and responding to threats made against Plaintiff’s schools and
students over social media;
          m.     updating its student handbook to address use of Defendants’ platforms; and
          n.     updating school policies to address use of Defendants’ platforms.
          370.   Defendants’ conduct, as described above, was intended to serve their own




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interests despite having reason to know and consciously disregarding a substantial risk
that their conduct might significantly injure the rights of others, including Plaintiff,
and/or Defendants consciously pursued a course of conduct knowing that it created a
substantial risk of significant harm to others, including Plaintiff. Defendants regularly
risk the health of consumers and users of their platforms with full knowledge of the
dangers of their platforms. Defendants consciously decided not to redesign, warn, or
inform the unsuspecting public, including Plaintiff’s students or Plaintiff. Defendants’
willful, knowing, and reckless conduct therefore warrants an award of aggravated or
punitive damages.
                              VII.   PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for judgment as follows:
       371.   Entering an Order that the conduct alleged herein constitutes a public
nuisance under Arizona law;
       372.   Entering an Order that Defendants are jointly and severally liable;
       373.   Entering an Order requiring Defendants to abate the public nuisance
described herein and to deter and/or prevent the resumption of such nuisance;
       374.   Enjoining Defendants from engaging in further actions causing or
contributing to the public nuisance as described herein;
       375.   Awarding equitable relief to fund prevention education and treatment for
excessive and problematic use of social media;
       376.   Awarding actual, compensatory, and punitive damages;
       377.   Awarding statutory damages in the maximum amount permitted by law;
       378.   Awarding reasonable attorneys’ fees and costs of suit;
       379.   Awarding pre-judgment and post-judgment interest; and
       380.   Such other and further relief as the Court deems just and proper under the
circumstances.




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                          VIII. JURY TRIAL DEMAND
     381.   Plaintiff hereby demands a trial by jury.


      DATED this 26th day of January, 2023.

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